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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS


JOHN BABSTOCK, MICHAEL CLINTON,           Civil Action No:
MARCELINO CORREA, MICHAEL DAVIS,
ARTHUR DAVISON, JACQUELINE                COMPLAINT FOR DAMAGES AND
DAVISON, JOHN FOLEY, PETER FOLEY,         INJUNCTIVE RELIEF
KARL HATTON, ROBERT JONES, JOHN
KELLY, PAUL LE BLANC, LORI
MACMURDO, RICHARD MACMURDO,
JOHN MCTIGUE, GLENN PRESTON, KEVIN         DEMAND FOR JURY TRIAL
ROMINES, PAUL RONAYNE, LEAH RYAN,
MARK RYAN, GARY SANTERRE, JOHN
TEAHAN, SUSAN TIMMONS, THOMAS
TIMMONS, ROBERT WARD, ERIC WIRTZ,
AND DAVID WONDOLOWSKI,
               Plaintiffs,

         vs.

3M COMPANY; AGC CHEMICALS
AMERICAS, INC.; AMEREX
CORPORATION; ARCHROMA U.S., INC.,
ARKEMA, INC.; BUCKEYE FIRE
EQUIPMENT; CARRIER GLOBAL
CORPORATION; CHEMGUARD, INC.;
DYNAX CORPORATION; E. I. DU PONT DE
NEMOURS & CO.; GLOBE
MANUFACTURING COMPANY LLC;
HONEYWELL SAFETY PRODUCTS USA,
INC.; JOHNSON CONTROLS, INC.; LION
GROUP, INC.; MINE SAFETY APPLIANCE
COMPANY LLC; NATIONAL FOAM, INC.;
PBI PERFORMANCE PRODUCTS, INC.,
PERIMETER SOLUTIONS, LP; STEDFAST
USA, INC.; TEN CATE PROTECTIVE
FABRICS USA D/B/A SOUTHERN MILLS
INC.; THE CHEMOURS COMPANY L.L.C.;
TYCO FIRE PRODUCTS, L.P.; W. L. GORE &
ASSOCIATES, INC.,

               Defendants,
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          Plaintiffs John Babstock, Michael Clinton, Marcelino Correa, Michael Davis, Arthur
    Davison, Jacqueline Davison, John Foley, Peter Foley, Karl Hatton, Robert Jones, John Kelly,
    Paul LeBlanc, Lori MacMurdo, Richard MacMurdo, John McTigue, Glenn Preston, Kevin
    Romines, Paul Ronayne, Leah Ryan, Mark Ryan, Gary Santerre, John Teahan, Susan Timmons,
    Thomas Timmons, Robert Ward, Eric Wirtz, and David Wondolowski by and through their
    attorneys of record, allege as follows:
                                              INTRODUCTION
          1.      Plaintiffs are 23 current and retired firefighters who are serving or have served the
    cities and towns of Worcester, Waltham, Brookline, Hamilton, Norwood, Brockton, Grafton, Fall
    River, Cambridge, Swampscott, and Boston, Massachusetts as firefighters and worked in various
    fire stations, engine, truck, and specialized companies in those communities for decades
    (collectively, the “Firefighter Plaintiffs”) and four spouses (“Spouse Plaintiffs”).
          2.      Plaintiffs bring this action for monetary damages and appropriate equitable and
    injunctive relief for harm resulting from exposure to per- and polyfluoroalkyl substances
    (“PFAS”) that were manufactured, designed, sold, supplied, distributed and/or contained in
    products manufactured, designed, sold, supplied and/or distributed by each of the Defendants,
    individually or through their predecessors or subsidiaries
           3.     PFAS are human-made chemicals consisting of a chain of carbon and fluorine
    atoms used in manufactured products to, inter alia, resist and repel oil, stains, heat and water.
    PFAS include “long-chain” PFAS made up of seven or more carbon atoms (“long-chain PFAS”)
    as well as “short-chain” PFAS made up of six or fewer carbon atoms (“short-chain PFAS”).
           4.     PFAS are known as “forever chemicals” because they are immune to degradation,
    bio-accumulate in individual organisms and humans, and increase in concentration up the food
    chain. PFAS exposure to humans can occur through inhalation, ingestion and dermal contact.1



1
 Suzanne E. Fenton, MS, PhD, PFAS Collection, Environmental Health Perspectives (February
22, 2019), https://ehp.niehs.nih.gov/curated-collections/pfas.

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           5.     PFAS have been associated with multiple and serious adverse health effects in
    humans including cancer, tumors, liver damage, immune system and endocrine disorders, high
    cholesterol, thyroid disease, ulcerative colitis, birth defects, decreased fertility, and pregnancy-
    induced hypertension. PFAS have also been found to concentrate in human blood, bones and
    organs and, most recently, to reduce the effectiveness of vaccines, a significant concern in light
    of COVID-19.
           6.     Unbeknownst to Plaintiffs, Defendants have manufactured, marketed, distributed,
    sold, or used PFAS and PFAS-containing materials in protective clothing specifically designed
    for firefighters (“turnouts”) and in Class B firefighting foams (“Class B foam”).2
           7.     For decades, Defendants were aware of the toxic nature of PFAS and the harmful
    impact these substances have on human health. Yet, Defendants manufactured, designed,
    marketed, sold, supplied, or distributed PFAS and PFAS chemical feedstock,3 as well PFAS-
    containing turnouts and Class B foam, to firefighting training facilities and fire departments
    nationally, including in Massachusetts and in the Worcester, Waltham, Brookline, Hamilton,
    Norwood, Brockton, Grafton, Fall River, Cambridge, Swampscott, and Boston fire departments.
    Defendants did so, moreover, without ever informing firefighters or the public that turnouts and
    Class B foams contained PFAS, and without warning firefighters or the public of the substantial
    and serious health injuries that can result from exposure to PFAS or PFAS-containing materials.
           8.     The Firefighter Plaintiffs wore turnouts and used and/or were exposed to Class B
    foam in the usual and normal course of performing their firefighting duties and training and were
    repeatedly exposed to PFAS in their workplace. They did not know and, in the exercise of




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  Class B foams are synthetic “soap-like” foams that spread rapidly across the surface of a fuel or
chemical fire to stop the formation of flammable vapors. The most common Class B foam is
aqueous film-forming foam (or “AFFF”).
3
  Chemical feedstock refers to a chemical used to support a large-scale chemical reaction. The
PFAS chemicals utilized to manufacture products containing PFAS are generally referred to herein
as “chemical feedstock.”


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reasonable diligence, could not have known that these products contained PFAS or PFAS-
containing materials. They also did not know that PFAS was in their bodies and blood.
        9.        At all relevant times and continuing to the present, Defendants have represented
that their turnouts and Class B foams are safe.
        10.       The Firefighter Plaintiffs did not learn of their PFAS exposure until May 2022, at
the earliest, when blood serum tests revealed that they had significantly elevated levels of PFAS
in their blood.
        11.       The Firefighter Plaintiffs used the turnouts and Class B foam as they were intended
and in a foreseeable manner which exposed them to PFAS in the course of their firefighting
activities. This repeated and extensive exposure to PFAS resulted in cancers and other serious
and life-threatening diseases to the Firefighter Plaintiffs. Their PFAS exposures continue to pose
a significant threat to their personal health due to PFAS’ persistence, pervasiveness, toxicity and
bioaccumulation.
        12.       Defendants knowingly and willfully manufactured, designed, marketed, sold, and
distributed chemicals and/or products containing PFAS for use within the State of Massachusetts
when they knew or reasonably should have known that the Firefighter Plaintiffs would repeatedly
inhale, ingest and/or have dermal contact with these harmful compounds during firefighting
training exercises and in firefighting emergencies, and that such exposure would threaten the
health and welfare of firefighters exposed to these dangerous and hazardous chemicals.
        13.       Plaintiffs bring this action against Defendants and seek damages, together with any
appropriate injunctive or other equitable relief.
                                    PARTIES TO THE ACTION
       A.         The Firefighter Plaintiffs
       14.        John Babstock, a fourth generation firefighter, served 28 years with the Waltham
Fire Department and retired as a fire captain. His firefighter training included building
construction, fire appliances, pump operations, ladders, search and rescue, ventilation, utility
control, salvage and overhaul, vehicle extrication, incident command, and basic first aid. One of

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his most memorable calls was when he and his crew rescued a family’s beloved pets from a burning
residence. In the course of firefighting training and fire suppression activities, John routinely wore
turnouts and has used and/or been exposed to Class B foam. Blood serum testing results received
in May 2022 show his PFAS levels are significantly elevated. John has been diagnosed with and
treated for bladder cancer and ulcerative colitis.
       15.     Michael Clinton was in the fire service for 32 years in the Cambridge Fire
Department, retiring as a fire lieutenant. Michael’s firefighter training included building
construction, fire appliances, pump operations, ladders, search and rescue, ventilation, utility
control, salvage and overhaul, vehicle extrication, incident command, and basic first aid. One of
his most gratifying experiences occurred when he rescued a man trapped in a residential structure
fire. In the course of firefighting training and fire suppression activities, Michael routinely wore
turnouts and has used and/or been exposed to Class B foam. Blood serum testing results received
in May 2022 show his PFAS levels are significantly elevated. Michael has been diagnosed with
and is being treated for prostate cancer.
        16.    Marcelino Correa was in the fire service for 16 years in the Waltham Fire
Department. Marcelino’s firefighter training included building construction, fire appliances,
pump operations, ladders, search and rescue, ventilation, utility control, salvage and overhaul,
vehicle extrication, incident command, and basic first aid.          One of his most memorable
experiences was rescuing three children during an early morning structure fire. In the course of
firefighting training and fire suppression activities, Marcelino routinely wore turnouts and has
used and/or been exposed to Class B foam. Blood serum testing results received in May 2022
show his PFAS levels are significantly elevated. Marcelino has been diagnosed with and treated
for kidney cancer.
        17.    Michael Davis served as a firefighter for 35 years in the Waltham Fire Department.
Michael’s firefighter training included building construction, fire appliances, pump operations,
ladders, search and rescue, ventilation, utility control, salvage and overhaul, vehicle extrication,
incident command, and basic first aid. One of his most gratifying contributions was helping

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firefighters who were members of the Waltham city credit union which Michael managed for
many decades while also serving as a firefighter. In the course of firefighting training and fire
suppression activities, Michael routinely wore turnouts and has used and/or been exposed to Class
B foam. Michael has been diagnosed with and is being treated for prostate cancer.
          18.   Arthur Davison began his fire service career at the age of 16 and served over 40
years in the firefighter service, including 27 years in the Worcester Fire Department and 13 years
as a volunteer firefighter with the Town of Grafton. Arthur’s firefighter training included building
construction, fire appliances, pump operations, ladders, search and rescue, ventilation, utility
control, salvage and overhaul, vehicle extrication, incident command, and basic first aid. One of
his most memorable moments occurred when he rescued a woman from a house fire. In the course
of firefighting training and fire suppression activities, Arthur routinely wore turnouts and has used
and/or been exposed to Class B foam. Blood serum testing results received in May 2022 show
his PFAS levels are significantly elevated. He has been diagnosed with and treated for prostate
cancer.
          19.   John Foley was in the fire service for 38 years in the Waltham Fire Department as
a firefighter and lieutenant.      His firefighter training included building construction, fire
appliances, pump operations, ladders, search and rescue, ventilation, utility control, salvage and
overhaul, vehicle extrication, incident command, and basic first aid. John’s most memorable
experience occurred when he and another firefighter rescued a woman after a suicide attempt in
the Charles River. In the course of firefighting training and fire suppression activities, John
routinely wore turnouts and has used and/or been exposed to Class B foam. Blood serum testing
results received in May 2022 show his PFAS levels are significantly elevated. John has been
diagnosed with and treated for prostate cancer.
          20.   Peter Foley served as a firefighter in the fire service for 32 years in the Worcester
Fire Department. Peter’s firefighter training included building construction, fire appliances,
pump operations, ladders, search and rescue, ventilation, utility control, salvage and overhaul,
vehicle extrication, incident command, and basic first aid.          One of his most memorable

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experiences was the rescue of a man from an apartment fire. In the course of firefighting training
and fire suppression activities, Peter routinely wore turnouts and has used and/or been exposed to
Class B foam. Blood serum testing results received in May 2022 show his PFAS levels are
significantly elevated. He was diagnosed with and is being treated for prostate cancer.
        21.    Karl Hatton was in the fire service for 28 years in the Brookline Fire Department
as a firefighter, lieutenant, and captain. His firefighter training included building construction,
fire appliances, pump operations, ladders, search and rescue, ventilation, utility control, salvage
and overhaul, vehicle extrication, incident command, and basic first aid. Karl’s most memorable
experience happened when he and his crew rescued two people overcome by carbon monoxide.
In the course of firefighting training and fire suppression activities, Karl routinely wore turnouts
and has used and/or been exposed to Class B foam. Blood serum testing conducted results
received in May 2022 show his PFAS levels are significantly elevated. Karl has been diagnosed
with and treated for prostate cancer.
        22.    Robert Jones served as a firefighter for 30 years in the Waltham Fire Department.
Robert’s firefighter training included building construction, fire appliances, pump operations,
ladders, search and rescue, ventilation, utility control, salvage and overhaul, vehicle extrication,
incident command, and basic first aid. One of his most memorable experiences was making the
decision to clear all firefighters out of a building fire that was later determined to have been started
by an arsonist and was unextinguishable.          In the course of firefighting training and fire
suppression activities, Robert routinely wore turnouts and has used and/or been exposed to Class
B foam. Robert has been diagnosed with and is being treated for prostate cancer.
        23.    John Kelly has been a firefighter in the Boston Fire Department for 18 years and is
currently serving as a fire inspector. His firefighter training included building construction, fire
appliances, pump operations, ladders, search and rescue, ventilation, utility control, salvage and
overhaul, vehicle extrication, incident command, and basic first aid. One of his most memorable
moments occurred when he removed an airway obstruction from a choking man in a restaurant.
In the course of firefighting training and fire suppression activities, John routinely wears turnouts

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and has used and/or been exposed to Class B foam. Blood serum testing results received in May
2022 show his PFAS levels are significantly elevated. John has been diagnosed with prostate
cancer.
          24.   Paul LeBlanc was in the fire service for 32 years in the Waltham Fire Department
as a firefighter and lieutenant. His firefighter training included building construction, fire
appliances, pump operations, ladders, search and rescue, ventilation, utility control, salvage and
overhaul, vehicle extrication, incident command, and basic first aid. Paul’s most memorable
experience occurred when he and another firefighter rescued a woman after a suicide attempt in
the Charles River. In the course of firefighting training and fire suppression activities, Paul
routinely wore turnouts and has used and/or been exposed to Class B foam. Blood serum testing
results received in May 2022 show his PFAS levels are significantly elevated. Paul has been
diagnosed with and is being treated for liver and colon cancer.
          25.   Richard MacMurdo was in the fire service as a firefighter and fire investigator for
23 years in the Brockton Fire Department. His firefighter training included building construction,
fire appliances, pump operations, ladders, search and rescue, ventilation, utility control, salvage
and overhaul, vehicle extrication, incident command, and basic first aid. One of Richard’s most
gratifying experiences was investigating and apprehending three arsonists. In the course of
firefighting training and fire suppression activities, Richard routinely wore turnouts and has used
and/or been exposed to Class B foam. Blood serum testing results received in May 2022 show
his PFAS levels are significantly elevated. Richard has been diagnosed with and treated for
prostate cancer, kidney cancer and skin cancer.
          26.   John McTigue has been an active-duty firefighter for 22 years in the Worcester Fire
Department. His firefighter training included building construction, fire appliances, pump
operations, ladders, search and rescue, ventilation, utility control, salvage and overhaul, vehicle
extrication, incident command, and basic first aid. One of his most memorable moments was
when his son was sworn in as a member of the Worcester Fire Department. In the course of
firefighting training and fire suppression activities, John routinely wears turnouts and uses and/or

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is exposed to Class B foam. Blood serum testing results received in May 2022 show his PFAS
levels are significantly elevated. John has been diagnosed with prostate cancer.
       27.     Glenn Preston is a lieutenant in the Boston Fire Department and has served for 28
years, including six years in the Hamilton Fire Department. His firefighter training included
building construction, fire appliances, pump operations, ladders, search and rescue, ventilation,
utility control, salvage and overhaul, vehicle extrication, incident command, and basic first aid.
One of Glenn’s most memorable moments occurred when he was off-duty and helped put out a
fire at his neighbor’s home. In the course of firefighting training and fire suppression activities,
Glenn routinely wears turnouts and uses and/or is exposed to Class B foam. Blood serum testing
results received in May 2022 show his PFAS levels are significantly elevated. Glenn has been
diagnosed with and treated for non-Hodgkin’s lymphoma cancer.
       28.     Kevin Romines was in the fire service for 30 years, serving the Norwood Fire
Department as a firefighter, lieutenant, and captain. His firefighter training included building
construction, fire appliances, pump operations, ladders, search and rescue, ventilation, utility
control, salvage and overhaul, vehicle extrication, incident command, and basic first aid. Kevin’s
proudest accomplishment occurred when he diverted an engine company with an automatic
external defibrillator to a patient in cardiac arrest. The patient was defibrillated and survived. In
the course of firefighting training and fire suppression activities, Kevin routinely wore turnouts
and has used and/or been exposed to Class B foam. Blood serum testing results received in May
2022 show his PFAS levels are significantly elevated. Kevin has been diagnosed with and treated
for prostate cancer.
       29.     Paul Ronayne was in the fire service for 29 years, serving in Worcester Fire
Department as a firefighter and lieutenant. His firefighter training included building construction,
fire appliances, pump operations, ladders, search and rescue, ventilation, utility control, salvage
and overhaul, vehicle extrication, incident command, and basic first aid. One of Paul’s most
significant experiences occurred when he and his crew rescued a Worcester firefighter after a
three-decker collapsed. In the course of firefighting training and fire suppression activities, Paul

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 routinely wore turnouts and has used and/or been exposed to Class B foam. Blood serum testing
 results received in May 2022 show his PFAS levels are significantly elevated. Paul has been
 diagnosed with and treated for kidney cancer.
       30.      Mark Ryan was in the fire service for 19 years serving the Swampscott Fire
Department, as a firefighter, lieutenant, and captain. Mark’s family has been serving the public
for over 100 years with his father spending decades with the Swampscott Fire Department. His
firefighter training included building construction, fire appliances, pump operations, ladders,
search and rescue, ventilation, utility control, salvage and overhaul, vehicle extrication, incident
command, and basic first aid. One of his most memorable moments happened when Mark and his
crew were able to rescue several men, one of whom was a friend, trapped in a burning vehicle. In
the course of firefighting training and fire suppression activities, Mark routinely wore turnouts and
has used and/or been exposed to Class B foam. Blood serum testing results received in May 2022
show his PFAS levels are significantly elevated. Mark has been diagnosed with and treated for
advanced metastatic prostate cancer.
       31.      Gary Santerre is an active member of the Fall River Fire Department.                His
firefighter training included building construction, fire appliances, pump operations, ladders,
search and rescue, ventilation, utility control, salvage and overhaul, vehicle extrication, incident
command, and basic first aid. One of Gary’s most memorable calls was the rescue of an elderly
woman in a late-night apartment fire. In the course of firefighting training and fire suppression
activities, Gary routinely wears turnouts and uses and/or is exposed to Class B foam. Gary has
been diagnosed with and treated for kidney cancer.
       32.      John Teahan was in the fire service for 35 years in the Brookline Fire Department,
as a firefighter, lieutenant, and captain. His firefighter training included building construction, fire
appliances, pump operations, ladders, search and rescue, ventilation, utility control, salvage and
overhaul, vehicle extrication, incident command, and basic first aid. One of John’s memorable
moments occurred when he and his crew rescued a semi-conscious woman trapped in a basement
fire. In the course of firefighting training and fire suppression activities, John routinely wore

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turnouts and has used and/or been exposed to Class B foam. Blood serum testing results received
in May 2022 show his PFAS levels are significantly elevated. John has been diagnosed and treated
for prostate cancer.
       33.     Thomas Timmons was in the fire service for 12 years serving in the Boston Fire
Department as a firefighter. His firefighter training included building construction, fire appliances,
pump operations, ladders, search and rescue, ventilation, utility control, salvage and overhaul,
vehicle extrication, incident command, and basic first aid. Thomas is most proud of serving on the
Boston Fire Department’s Honor Guard and presenting the American Flag at Fenway Park at a
September 11th ceremony. In the course of firefighting training and fire suppression activities,
Thomas routinely wore turnouts and has used and/or been exposed to Class B foam. Blood serum
testing results received in May 2022 show his PFAS levels are significantly elevated. Thomas was
diagnosed and treated for prostate cancer.
       34.     Robert Ward was in the fire service for 36 years serving in the Brookline Fire
Department as a firefighter, company officer, and chief officer. His firefighter training included
building construction, fire appliances, pump operations, ladders, search and rescue, ventilation,
utility control, salvage and overhaul, vehicle extrication, incident command, and basic first aid.
Robert is proud of serving as BFD’s Union President and securing portable radios and personal
alert safety systems (PASS Device) for all Brookline firefighters. Robert routinely wore turnouts
and has used and/or been exposed to Class B foam. Blood serum testing results received in May
2022 show his PFAS levels are significantly elevated. Robert was diagnosed and treated for
prostate cancer.
       35.     Eric Wirtz is an active-duty firefighter serving in the Boston Fire Department as a
firefighter, fire investigator and K9 handler.        His firefighter training included building
construction, fire appliances, pump operations, ladders, search and rescue, ventilation, utility
control, salvage and overhaul, vehicle extrication, incident command, and basic first aid. One of
Eric’s most memorable experiences occurred at the Boston Marathon Bombing where Eric and his
crew were first on-scene and provided first-aid to a severely injured couple. Eric routinely wears

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turnouts and has used and/or been exposed to Class B foam. Blood serum testing results received
in May 2022 show his PFAS levels are significantly elevated. Eric was diagnosed and treated for
non-Hodgkin’s lymphoma cancer.
          36.   David Wondolowski was in the fire service for 31 years serving in the Worcester
Fire Department as a firefighter and lieutenant. His firefighter training included building
construction, fire appliances, pump operations, ladders, search and rescue, ventilation, utility
control, salvage and overhaul, vehicle extrication, incident command, and basic first aid. David’s
most memorable moment happened when he and his crew extricated a mother and her infant from
a vehicle entangled with a tractor-trailer. David routinely wore turnouts and has used and/or been
exposed to Class B foam. Blood serum testing results received in May 2022 show his PFAS levels
are significantly elevated. David was diagnosed and treated for prostate cancer.
          37.   The Firefighter Plaintiffs, individually and collectively, allege that PFAS or PFAS-
containing materials developed, manufactured, marketed distributed, released, sold, and/or used
by Defendants in turnouts and Class B foam, as herein alleged, caused them to be exposed to PFAS
and/or PFAS-containing materials. Such exposure was a substantial factor and proximate cause
of the cancers, serious illnesses and bodily injuries suffered by the Firefighter Plaintiffs, as alleged
herein.
          B.    The Spouse Plaintiffs
          38.   Jacqueline Davison is the spouse of Firefighter Plaintiff Arthur Davison.
Jacqueline and Arthur were lawfully married at all times relevant to this action, and are currently
husband and wife.
          39.   Lori MacMurdo is the spouse of Firefighter Plaintiff Richard MacMurdo. Lori and
Richard were lawfully married at all times relevant to this action, and are currently husband and
wife.
          40.   Leah Ryan is the spouse of Firefighter Plaintiff Mark Ryan. Leah and Mark were
lawfully married at all times relevant to this action, and are currently husband and wife.



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         41.   Susan Timmons is the spouse of Firefighter Plaintiff Thomas Timmons. Susan and
Thomas were lawfully married at all times relevant to this action, and are currently husband and
wife.
         C.    Defendants
         42.   Defendant 3M Company (a/k/a Minnesota Mining and Manufacturing Company)
(“3M”) is a Delaware corporation that does business throughout the United States, including
conducting business in Massachusetts. 3M has its principal place of business in St. Paul,
Minnesota. 3M developed, manufactured, marketed, distributed, released, sold, and/or used PFAS,
PFAS materials, and products containing PFAS in turnouts and/or Class B foams, including in
Massachusetts.
         43.   Defendant AGC Chemicals Americas, Inc. (“AGC”) is a Delaware corporation that
does business throughout the United States, including conducting business in Massachusetts. AGC
has its principal place of business in Exton, Pennsylvania. AGC developed, manufactured,
marketed, distributed, released, sold, and/or used PFAS, PFAS materials, and products containing
PFAS in turnouts and/or Class B foams, including in Massachusetts.
         44.   Defendant Amerex Corporation, also known as Alabama Amerex Corporation,
(“Amerex”) is an Alabama corporation that does business throughout the United States, including
conducting business in Massachusetts. Amerex has its principal place of business in Trussville,
Alabama. Amerex developed, manufactured, marketed, distributed, released, sold, and/or used
PFAS, PFAS materials, and products containing PFAS in turnouts and/or Class B foams, including
in Massachusetts.
         45.   Defendant Archroma U.S., Inc. (“Archroma”) is a North Carolina corporation that
does business throughout the United States, including conducting business in Massachusetts.
Archroma has its principal place of business in Charlotte, North Carolina. Archroma developed,
manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS materials, and
products containing PFAS in turnouts and/or Class B foams, including in Massachusetts.



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       46.    Defendant Arkema, Inc. (“Arkema”) is a Pennsylvania corporation that does
business throughout the United States, including conducting business in Massachusetts. Arkema
has its principal place of business in King of Prussia, Pennsylvania. Arkema developed,
manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS materials, and
products containing PFAS in turnouts and/or Class B foams, including in Massachusetts.
       47.    Defendant Buckeye Fire Equipment (“Buckeye”) is a North Carolina corporation
that does business throughout the United States, including conducting business in Massachusetts.
Buckeye has its principal place of business in Kings Mountain, North Carolina. Buckeye
developed, manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS
materials, and products containing PFAS in turnouts and/or Class B foams, including in
Massachusetts.
       48.    Defendant Carrier Global Corporation (“Carrier”) is a Delaware corporation that
does business throughout the United States, including conducting business in Massachusetts.
Carrier has its principal place of business in Palm Beach Gardens, Florida. Carrier developed,
manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS materials, and
products containing PFAS in turnouts and/or Class B foams, including in Massachusetts.
       49.    Defendant Chemguard, Inc. (“Chemguard”) is a Wisconsin corporation that does
business throughout the United States, including conducting business in Massachusetts.
Chemguard has its principal place of business in Marinette, Wisconsin. Chemguard developed,
manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS materials, and
products containing PFAS in turnouts and/or Class B foams, including in Massachusetts.
       50.    Defendant Dynax Corporation (“Dynax”) is a New York corporation that does
business throughout the United States, including conducting business in Massachusetts. Dynax
has its principal place of business in Pound Ridge, New York. Dynax developed, manufactured,
marketed, distributed, released, sold, and/or used PFAS, PFAS materials, and products containing
PFAS in turnouts and/or Class B foams, including in Massachusetts.



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       51.    Defendant E. I. du Pont de Nemours & Co. (“DuPont”) is a Delaware corporation
that does business throughout the United States, including conducting business in Massachusetts.
DuPont has its principal place of business in Wilmington, Delaware. DuPont developed,
manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS materials, and
products containing PFAS in turnouts and/or Class B foams, including in Massachusetts.
       52.    Defendant Globe Manufacturing Company, LLC (“Globe”) is a New Hampshire
corporation that does business throughout the United States, including conducting business in
Massachusetts. Globe has its principal place of business in Pittsfield, New Hampshire. Globe
developed, manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS
materials, and products containing PFAS in turnouts and/or Class B foams, including in
Massachusetts. Defendant Mine Safety Appliance Company acquired Globe Holding Company,
LLC and its subsidiaries (collectively, “MSA/Globe”) in 2017 and continues to do business under
the Globe name.
       53.    Defendant Honeywell Safety Products USA, Inc. (“Honeywell”) is a Delaware
corporation that does business throughout the United States, including conducting business in
Massachusetts. Honeywell has its principal place of business in Charlotte, North Carolina.
Honeywell developed, manufactured, marketed, distributed, released, sold, and/or used PFAS,
PFAS materials, and products containing PFAS in turnouts and/or Class B foams, including in
Massachusetts.
       54.    Defendant Johnson Controls, Inc. (“Johnson Controls”) is a Delaware corporation
that does business throughout the United States, including conducting business in Massachusetts.
Johnson Controls has its principal place of business in Milwaukee, Wisconsin. Johnson Controls
is the parent of Defendants Tyco Fire Products, LP and Chemguard, Inc. Johnson Controls
developed, manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS
materials, and products containing PFAS in turnouts and/or Class B foams, including in
Massachusetts.



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       55.    Defendant Lion Group, Inc., (“Lion”) is an Ohio corporation that does business
throughout the United States, including conducting business in Massachusetts. Lion has its
principal place of business in Dayton, Ohio. Lion developed, manufactured, marketed, distributed,
released, sold, and/or used PFAS, PFAS materials, and products containing PFAS in turnouts
and/or Class B foams, including in Massachusetts.
       56.    Defendant Mine Safety Appliance Company, LLC (“MSA/Globe”) is a
Pennsylvania corporation that does business throughout the United States, including conducting
business in Massachusetts. MSA has its principal place of business in Cranberry Township,
Pennsylvania. MSA acquired Globe Holding Company, LLC and its subsidiaries (collectively,
“MSA/Globe”) in 2017 and continues to do business under the Globe name. MSA developed,
manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS materials, and
products containing PFAS in turnouts and/or Class B foams, including in Massachusetts.
       57.    Defendant National Foam, Inc., (“National Foam”) is a Pennsylvania corporation
that does business throughout the United States, including conducting business in Massachusetts.
National Foam has its principal place of business in West Chester, Pennsylvania. National Foam
developed, manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS
materials, and products containing PFAS in turnouts and/or Class B foams, including in
Massachusetts.
       58.    Defendant PBI Performance Products, Inc., (“PBI”) is a Delaware corporation that
does business throughout the United States, including conducting business in Massachusetts. PBI
has its principal place of business in Charlotte, North Carolina. PBI developed, manufactured,
marketed, distributed, released, sold, and/or used PFAS, PFAS materials, and products containing
PFAS in turnouts and/or Class B foams, including in Massachusetts.
       59.    Defendant Perimeter Solutions, LP, (“Perimeter Solutions”) is a Delaware
corporation that does business throughout the United States, including conducting business in
Massachusetts. Perimeter Solutions has a principal place of business in Rancho Cucamonga,
California. Perimeter developed, manufactured, marketed, distributed, released, sold, and/or used

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PFAS, PFAS materials, and products containing PFAS in turnouts and/or Class B foams, including
in Massachusetts.
       60.     Defendant StedFast USA, Inc. (“StedFast”) is a Delaware corporation that does
business throughout the United States, including conducting business in Massachusetts. StedFast
has its principal place of business in Piney Flats, Tennessee. StedFast developed, manufactured,
marketed, distributed, released, sold, and/or used PFAS, PFAS materials, and products containing
PFAS in turnouts and/or Class B foams, including in Massachusetts.
       61.     Defendant Ten Cate Protective Fabrics USA d/b/a Southern Mills, Inc. (“Tencate”)
is a Georgia corporation that does business throughout the United States, including conducting
business in Massachusetts. Tencate has its principal place of business in Senoia, Georgia. Tencate
developed, manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS
materials, and products containing PFAS in turnouts and/or Class B foams, including in
Massachusetts.
       62.     Defendant The Chemours Company, L.L.C. (“Chemours”) is a Delaware
corporation that does business throughout the United States, including conducting business in
Massachusetts. Chemours has its principal place of business in Wilmington, Delaware. Chemours
developed, manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS
materials, and products containing PFAS in turnouts and/or Class B foams, including in
Massachusetts.
       63.     Defendant Tyco Fire Products, L.P. (“Tyco”) is a Delaware corporation that does
business throughout the United States, including conducting business in Massachusetts. Tyco has
its principal place of business in Exeter, New Hampshire. Tyco developed, manufactured,
marketed, distributed, released, sold, and/or used PFAS, PFAS materials, and products containing
PFAS in turnouts and/or Class B foams, including in Massachusetts.
       64.     Defendant W. L. Gore & Associates, Inc., (“Gore”) is a Delaware corporation that
does business throughout the United States, including conducting business in Massachusetts. Gore
has its principal place of business in Newark, Delaware. Gore developed, manufactured, marketed,

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distributed, released, sold, and/or used PFAS, PFAS materials, and products containing PFAS in
turnouts and/or Class B foams, including in Massachusetts.
       65.     Plaintiffs allege that each named Defendant is in some manner responsible for the
acts alleged herein and that they proximately caused the injuries to Plaintiffs, as alleged herein.
       66.     Plaintiffs allege that each named Defendant derived substantial revenue from the
PFAS, PFAS materials, and products containing PFAS in turnouts and/or Class B foams that
Defendants designed, developed, manufactured, tested, packaged, promoted, marketed, advertised,
distributed, labeled and/or sold within Massachusetts, and that were used by Firefighter Plaintiffs
herein within Massachusetts.
       67.     Defendants expected or should have expected their acts to have consequences
within the State of Massachusetts, and derived substantial revenue from interstate commerce.
       68.     Defendants purposefully availed themselves of the privilege of conducting
activities within the State of Massachusetts, thus invoking the benefits and protections of its laws.
                                 JURISDICTION AND VENUE
       69.     This Court has jurisdiction over this action under 28 U.S.C. § 1332(a) and
1332(c)(1) in that there is complete diversity among the parties and the amount in controversy
exceeds $75,000 exclusive of interest and costs.
       70.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because the Firefighter
Plaintiffs’ exposure and Plaintiffs’ injuries, resulting from the acts of Defendants alleged herein,
occurred in the Commonwealth of Massachusetts.
                                SUBSTANTIVE ALLEGATIONS

        A.     The Firefighters Plaintiffs’ Use of and Exposure to PFAS-Containing
               Products
       71.     The Firefighter Plaintiffs are 23 firefighters who have served the cities and towns
of Worcester, Waltham, Brookline, Hamilton, Norwood, Brockton, Grafton, Fall River,
Cambridge, Swampscott, and Boston as firefighters and worked in various fire stations, engine,




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truck, and specialized companies throughout the State of Massachusetts for decades.4
       72.     As first responders to fire, medical and other emergency calls, the Firefighter
Plaintiffs risk their lives on a daily basis. They not only save lives and homes, they provide
emergency services and medical care, perform rescues, and offer support to people in traumatic
circumstances. To prepare them for this enormously challenging work, the Firefighter Plaintiffs
wear turnouts and receive extensive and ongoing training in fire suppression (including the
preparation, handling and use of firefighting foam), fire prevention, rescue, and emergency
medical care techniques to protect and/or minimize the loss of life, property, and damage to the
environment.
       73.     The Worcester Fire Department provides fire protection and emergency medical
services to the city’s 183,000 residents.
       74.     The Waltham Fire Department provides fire protection and emergency medical
services to a city of 62,000 residents.
       75.     The Brookline Fire Department provides fire protection and emergency medical
services to a town of 59,000 residents.
       76.     The Hamilton Fire Department provides fire protection and emergency medical
services to a town of 7,500 residents.
       77.     The Norwood Fire Department provides fire protection and emergency medical
services to a town of 31,000 people.
       78.     The Brockton Fire Department provides fire protection and emergency medical
services to a city of nearly 100,000 residents.
       79.     The Grafton Fire Department provides fire protection and emergency medical
services to a town of 17,000 residents.



4
  Four of the firefighter spouses, referred to herein as the Spouse Plaintiffs, independently assert
claims for loss of consortium as detailed more fully below at ¶¶ 304-313.



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       80.     The Fall River Fire Department provides fire protection and emergency medical
services to a city of over 94,000 residents.
       81.     The Cambridge Fire Department provides fire protection and emergency medical
services to a city of 117,000 residents.
       82.     The Swampscott Fire Department provides fire protection and emergency services
to a town of 15,000 residents.
       83.     The Boston Fire Department is the largest municipal fire department in New
England, serving 685,000 people.
       84.     For decades, Defendants, either individually or through their predecessors or
subsidiaries, have manufactured, designed, sold, supplied, and distributed chemical feedstock and/or
turnouts and/or Class B foam containing PFAS to firefighting training facilities and fire
departments globally, including within the State of Massachusetts and the cities and towns of
Worcester, Waltham, Brookline, Hamilton, Norwood, Brockton, Grafton, Fall River, Cambridge,
Swampscott, and Boston and their communities in Massachusetts.
       85.     With over 5,000 individual chemicals, PFAS is a large and ever-growing category
of human-made chemicals, consisting of a nearly indestructible chain of carbon and fluorine atoms
that are widely used in products to, inter alia, resist and repel oil, heat and water, and have been
found to have negative health effects. As detailed below, these toxic chemicals are present in
firefighter turnouts and Class B foam.
              (1)      PFAS-Containing Turnout Gear
       86.     During firefighting training and when responding to fires and performing fire
extinguishment, firefighters wear turnouts that are intended to provide a degree of thermal,
chemical, and biological protection for a firefighter. Turnout gear components include individual
components such as a helmet, hood, jacket, pants and suspenders, boots, and gloves. Each
component of the jacket and pants are made of an outer layer, as well as several inner layers that




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include a moisture barrier and thermal liner which are meant to protect the firefighter from ambient
heat.5
           87.   PFAS chemicals are used in turnout gear to impart heat, water, and stain resistance
to the outer shell and moisture barrier of turnout gear.
           88.   A June 2020 study of turnout gear by researchers at the University of Notre Dame
analyzed 30 new and used turnout jackets and pants originally marketed, distributed and sold in
2008, 2014, and 2017, by six turnout gear makers, including Defendants MSA/Globe, Lion and
Honeywell and found high levels of PFAS in turnout gear worn, used, or handled by firefighters,
including the Firefighter Plaintiffs.6
           89.   When exposed to heat, PFAS chemicals in the turnouts off-gas, break down, and
degrade into highly mobile and toxic particles and dust,7 exposing firefighters to PFAS chemicals,
particles and dust, including through skin contact/absorption, ingestion (e.g., hand-to-mouth
contact) and/or inhalation.8 Further firefighter exposure to these highly mobile and toxic materials
occurs through normal workplace activities, because particles or dust from their turnouts spread to
fire vehicles and fire stations, as well as firefighters’ personal vehicles and homes.9
           90.   Such workplace exposure to PFAS or PFAS-containing materials has been found
to be toxic to humans. As far back as a July 31, 1980 internal memo, DuPont officials described
measures that were needed to prevent workplace exposure to PFOA, which they knew could
permeate all protective materials, and noted that PFOA’s toxicity varied depending on the


5
  What Materials Go Into Making Turnout Gear?, Globe MSA Safety Website, (last visited
September 29, 2021), https://globe.msasafety.com/selecting-your-gear/materials.
6
  Graham Peaslee et al., Another Pathway for Firefighter Exposure to Per- and Polyfluoroalkyl
Substances: Firefighter Textiles, Environmental Science & Technology Letters 2020, 7, 8, 594-
599 (Ecotoxicology and Public Health) (June 23, 2020) (hereinafter, “the Notre Dame Turnout
Study”).
7
 A.S. Young et al., Per- and Polyfluoroalkyl Substances (PFAS) and Total Fluorine in Fire Station
Dust, J. Expo. Sci. Environ. Epidemiology (2021), https://doi.org/10.1038/s41370-021-00288-7.
8
    Id.
9
    Id.

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exposure pathway, acknowledging that ingestion was “slightly toxic,” dermal contact was “slightly
to moderately toxic” and inhalation was “highly toxic.”         10
                                                                     The memo concluded “continued
exposure is not tolerable.”11
          91.     As alleged herein, the Firefighter Plaintiffs wear and/or wore turnouts in the
ordinary course of performing their duties, as the turnouts were intended to be used and in a
foreseeable manner, which exposed them to significant levels of PFAS.
          92.     The Firefighter Plaintiffs did not know, and in the exercise of reasonable diligence
could not have known, that the turnouts they wore or used in the course of performing their duties
contained PFAS or PFAS-containing materials, and similarly did not know and could not have
known that they routinely suffered exposure to PFAS or PFAS-containing materials in the turnouts
they wore or used in performing their duties. The turnout gear worn or used by the Firefighter
Plaintiffs did not and does not contain labeling information saying that the gear contains PFAS,
and similarly did not and does not warn the Firefighter Plaintiffs of the health risks associated with
exposure to PFAS.
          93.     Like fire departments across the country, many Plaintiffs only had one set of
turnouts for years, and would wash their turnouts at home and/or in station machines along with
their daily station wear uniforms.
                  (2)     PFAS-Containing Class B Foam
          94.     Class B foam is one of the primary tools used by firefighters for suppression of fires
and is particularly effective for extinguishing fires involving oil and/or chemicals common at
transportation accidents, aircraft accidents, and chemical spills. Class B foam is also used in
structural or other types of non-chemical fires when water cannot penetrate deeply enough to
ensure that unseen fire is extinguished. The most common Class B foam is aqueous film-forming
foam (“AFFF”). AFFF and other Class B foams contain PFAS.


10
     Robert Bilott, Exposure (2019), pg. 174.
11
     Id. at pg. 175.

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       95.     To use Class B foam, a Class B foam concentrate must first be mixed with water.
       96.     Class B foam concentrate is typically sold in five-gallon containers that firefighters
are responsible for storing on the fire engine and/or pouring into the foam bladder of the fire
engine. To mix the foam concentrate and water from a fire engine that is not pre-plumbed for foam,
an eductor must be placed in the foam concentrate to draw up the concentrate and mix it with water
to create a thick, foamy substance. Firefighters are responsible for this process of preparing the
foam, applying the foam and for cleaning the equipment (hoses, nozzles, etc.) after use.
       97.     The process of preparing and applying Class B foam, applying the foam, and then
cleaning the equipment after foam use causes exposure to PFAS through skin contact, inhalation,
or ingestion (e.g., hand-to-mouth contact). The Class B foam containers used by the Firefighter
Plaintiffs and their fire departments to mix and prepare the Class B foam for use did not say that
the foam contains PFAS, and did not warn the Firefighter Plaintiffs of the serious health risks
associated with exposure to PFAS.
       98.     Class B foam is used in fire extinguishment in a manner typical of routine methods
of fire extinguishment—by being sprayed through a fire hose, appliance or nozzle.
       99.     The techniques used for “laying a blanket” of Class B foam in fire extinguishment
include: banking the foam off a wall or vertical surface to agitate the foam before it covers the fire;
or applying it to the ground surface where the fire is burning. In structure fires, it can also be




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necessary to spray the ceilings, walls and floors. Reapplication of foam is often necessary because
the foam blanket will break down over a short time.
       100.    These techniques are used routinely in firefighting training as well as in real-world
fire extinguishment, and result in firefighters being sprayed or entirely soaked with Class B foam,
walking in and through Class B foam (which can reach thigh- or even waist-high), or kneeling in
Class B foam during use – all as depicted in the exemplar photographs below. As a result, the
techniques cause exposure to PFAS through skin contact, inhalation, or ingestion (e.g., hand-to-
mouth contact).
       101.    As alleged herein, the Firefighter Plaintiffs used and/or were exposed to Class B
foam in the ordinary course of performing their duties as it was intended to be used and in a
foreseeable manner which exposed them to significant levels of PFAS.
       102.    The Firefighter Plaintiffs did not know, and in the exercise of reasonable diligence,
could not have known that the Class B foam they used and/or were exposed to in the course of
performing their duties contained PFAS or PFAS-containing materials, and similarly did not know




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and could not have known that they routinely suffered exposure to PFAS or PFAS-containing
materials in the Class B foam they used and/or were exposed to in performing their duties.
       103.    These exposures to PFAS or PFAS-containing materials resulted in serious and life-
threatening diseases to the Firefighter Plaintiffs, and continue to pose a significant health threat to
them given the bioaccumulation, pervasiveness and persistence of PFAS.




        B.     The Chemical Structure of PFAS Makes Them Harmful to Human Health
       104.    PFAS are known as “forever chemicals” because they are immune to degradation,
bio-accumulate in individual organisms and humans, and increase in concentration up the food
chain.12 Indeed, scientists are unable to estimate an environmental half-life (i.e. the time it takes
for 50% of the chemical to disappear) for PFAS.13 Additionally, some PFAS chemicals (known


12
   Perfluoroalkyl and Polyfluoroalkyl Substances (PFAS), National Institute of Environmental
Health         Sciences        (last        visited        September        30,       2021),
https://www.niehs.nih.gov/health/topics/agents/pfc/index.cfm.
13
   Id.

                                                  24
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as “precursors”) degrade into different long-chain PFAS chemicals.14
       105.    PFAS are nearly indestructible and are highly transportable.15 PFAS exposure to
humans can occur through inhalation, ingestion, or dermal contact.16
       106.    PFAS chemicals include “older” long-chain PFAS like PFOA, PFOS, and PFNA
that have seven or more carbon atoms, and “newer” short-chain PFAS, like PFBA, PFBS, PFHxA,
and PFHxS. The PFAS chemical industry has repeatedly asserted that short-chain PFAS are safer
and bio-degrade more easily than long-chain PFAS. However, short-chain PFAS are molecularly
similar to long-chain PFAS, and recent scientific research conducted in 2020 shows that short-
chain PFAS are in fact extremely persistent, highly mobile and transportable, almost impossible
to remove from water, bio-accumulate in humans and the environment, and show similar toxicity
as long-chain PFAS.17 Short-chain PFAS also have lower technical performance and may
therefore be used at higher quantities cancelling out any supposed benefits of lower
bioaccumulation potential.18


14
  Id. at fn. 7; Monica Amarelo, Study: Almost All Fluorine Detected in Fire Stations’ Dust Is From
Unknown “Forever Chemicals,” Environmental Working Group (February 5, 2021),
https://www.ewg.org/release/study-almost-all-fire-stations-dust-unknown-forever-chemicals.
15
   Toxicological Profile for Perfluoroalkyls, see Relevance to Public Health, Agency for Toxic
Substances        &     Disease       Registry,   (last    visited   October     19,    2021),
https://www.atsdr.cdc.gov/toxprofiles/tp200.pdf.Error! Hyperlink reference not valid.
16
   Id. at pgs. 3-4; Ketura Persellin, Study: PFAS Exposure Through Skin Causes Harm Similar to
Ingestion, Environmental Working Group (January 13, 2020).
17
   Cheryl Hogue, Short-chain and long-chain PFAS show similar toxicity, US National Toxicology
Program       says,    Chemical       and    Engineering     News,      (August     24,     2019),
https://cen.acs.org/environment/persistent-pollutants/Short-chain-long-chain-PFAS/97/i33;
David Andrews, FDA Studies: ‘Short-Chain’ PFAS Chemicals More Toxic Than Previously
Thought, Environmental Working Group (March 9, 2020), https://tinyurl.com/y3lbq7by; Stephan
Brendel et al., Short-chain Perfluoroalkyl Acids: Environmental Concerns and A Regulatory
Strategy Under REACH, Environmental Sciences Europe, Vol. 30, 1 (2018),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5834591/; Tom Neltner, The Elephant in the
Room: Potential Biopersistence of Short-Chain PFAS, Environmental Defense Fund, (February
20, 2019), http://blogs.edf.org/health/2019/02/20/potential-biopersistence-short-chain-pfas/.
18
   Martin Scheringer et al., Helsingør Statement on Poly- and Perfluorinated Alkyl Substances
(PFASs),                 Chemosphere                 (June                14,               2014),
https://www.sciencedirect.com/science/article/pii/S004565351400678X.

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       107.    In October 2021, the U.S. Environmental Protection Agency (“EPA”) updated its
2018 assessment of short-chain PFAS, also known as “GenX”, finding that two of Defendant
Chemours GenX chemicals are more toxic than PFOA - the highly toxic chemical these were
intended to replace.19
       108.    To date, there is no safe, acceptable or “normal” level of PFAS in the human body.
Further, the fact that PFOA, PFOS, PFHxS, PFHpA, and PFNA are often found together presents
a substantial risk to human health. Defendants’ assertions that their products are safe because they
do not contain PFOA or PFOS, or because they contain short-chain PFAS is just another example
of their efforts to deflect from the reality that there are thousands of PFAS – including precursor
PFAS which degrade into PFOA and PFOS.20
       109.    PFAS exposure affects nearly every system in the human body.21 It has been
associated with multiple and serious adverse health effects in humans including, but not limited
to, cancer, tumors, liver damage, immune system and endocrine disorders, thyroid disease,
ulcerative colitis, birth defects, decreased fertility, pregnancy-induced hypertension, accelerated
changes in gene expression, and increases in oxidative stress which can contribute to DNA
changes, tumor promotion, and other health conditions.22 It has also been found to concentrate in


19
  Cheryl Hogue, US EPA Deems Two GenX PFAS Chemicals More Toxic than PFOA, Chemical
& Engineering News (October 28, 2021), https://cen.acs.org/environment/persistent-
pollutants/US-EPA-deems-two-GenX-PFAS-chemicals-more-toxic-than-PFOA/99/i40.
20
   Technical Fact Sheet - Perfluorooctane Sulfonate (PFOS) and Perfluorooctanoic Acid (PFOA),
United         States       Environmental        Protection      Agency,       (Nov.       2017),
https://www.epa.gov/sites/production/files/2017-
12/documents/ffrrofactsheet_contaminants_pfos_pfoa_11-20-17_508_0.pdf.
21
   Kelly Lenox, PFAS Senate Hearing, Birnbaum’s Expert Scientific Testimony, Environmental
Factor, National Institute of Environmental Health Sciences (May 2019),
https://factor.niehs.nih.gov/2019/5/feature/1-feature-pfas/index.htm.
22
   A. Koskela et al., Perfluoroalkyl substances in human bone: concentrations in bones and effects
on      bone       cell     differentiation,    Scientific   Reports,    (July     28,     2017),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5533791/pdf/41598_2017_Article_7359.pdf;
National Toxicology Program Technical Report on the Toxicology and Carcinogenesis Studies of
Perfluorooctanoic Acid Administered in Feed to Sprague Dawley (Hsd: Sprague Dawley SD) Rats,
National                Toxicology                 Program,            (May                2020),
https://ntp.niehs.nih.gov/ntp/htdocs/lt_rpts/tr598_508.pdf; Jaclyn Goodrich et al., Per- and

                                                26
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human blood, bones and organs, and to reduce the effectiveness of certain vaccines, a significant
concern in light of COVID-19.23

        C.    Defendants Knowingly Manufactured, Developed, Marketed, Distributed,
              Supplied and/or Sold Toxic PFAS and/or Products Containing PFAS
       110.   Defendants have each marketed, developed, distributed, sold, promoted,
manufactured, released, or otherwise used PFAS chemicals in products, including in PFAS-
containing turnout gear and Class B foam, throughout the United States and in Massachusetts.
       111.   PFAS were first developed in the 1930s and 1940s. Soon after, 3M began
manufacturing a PFAS material called perfluorooctanoic acid (“PFOA”), selling it to other
companies, including DuPont.
       112.   By the 1950s, PFAS were widely used in large-scale manufacturing. Prior to this,
PFAS had never been detected in nor were present in human blood or bodies.
       113.   In the 1960s, Class B foam containing PFAS entered the global market and became
the primary firefighting foam all over the world with 3M as one of the largest manufacturers.
       114.   In the 1970s, Defendants National Foam and Tyco began to manufacture, market
and sell Class B foam containing PFAS, followed by Defendants Chemguard and Dynax in the
1990s, and Defendant Buckeye in the 2000s.
       115.   Founded in 1918, Defendant MSA/Globe began manufacturing, marketing and
selling turnout gear with DuPont’s NOMEX® PFAS-containing flame resistant fabric in 1966.
MSA/Globe (under the Globe name) continues to manufacture, market and sell turnout gear using
PFAS-containing fabrics supplied by its partners, DuPont, Gore, Tencate, and PBI.24


Polyfluoroalkyl Substances, Epigenetic Age and DNA Methylation: A Cross-Sectional Study of
Firefighters, Epigenomics (October 2021), https://pubmed.ncbi.nlm.nih.gov/34670402/.
23
   Id. (Koskela study); Tasha Stolber, PFAS Chemicals Harm the Immune System, Decrease
Response to Vaccines, New EWG Review Finds, Environmental Working Group (November 12,
2020), https://www.ewg.org/news-and-analysis/2020/11/pfas-chemicals-harm-immune-system-
decrease-response-vaccines-new-ewg.
24
    See Globe History, Globe MSA Safety Website, (last visited February 26, 2021),
https://globe.msasafety.com/history; Turnout Gear Materials, Globe MSA Safety Website, (last
visited February 26, 2021), https://globe.msasafety.com/materials.

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       116.     Defendant Lion began to manufacture, market and sell turnout gear in 1970. Since
its founding, and continuing through to the present, Lion makes, markets and sells turnout gear
using PFAS-containing fabrics, including Teflon® F-PPE-treated thermal lining material supplied
by Defendants DuPont’s NOMEX® PFAS-containing flame/water/oil-resistant fabric, and
moisture barrier fabrics supplied by Defendant Gore.25
       117.     Defendant Honeywell acquired Norcross Safety Products LLC in 2008, entering
the protective gear industry and becoming one of the leading manufacturers of turnouts.
Honeywell makes, markets and sells turnout gear using PFAS-containing fabrics, supplied by
Defendants DuPont, Gore, PBI, and StedFast.

        D.      Defendants Know Exposure to PFAS Causes Serious Health Impacts
       118.     Defendants, including specifically 3M and DuPont, have long known about the
serious and significant impacts to health caused by exposure to PFAS, having conducted study
after study on the exposure and health effects of PFAS on animals, and in some cases, even on
their own employees. The findings of these studies were discussed within the companies internally,
yet were never made public or shared with any regulatory agencies. Among the findings:

             a. A 1950 3M study showed that PFAS could build up in the blood of mice
                and that PFAS could bind to proteins in human blood suggesting that PFAS
                would not only remain, but also persist and accumulate in the body of the
                exposed individuals with each additional exposure.26
             b. In 1961, a DuPont toxicologist warned that PFAS chemicals enlarge rat
                and rabbit livers.27 A year later, these results were replicated in studies




25
       See Our History, Lion Website (last visited September 29, 2021),
http://www.lionprotects.com/lion-history; Firefighter Turnouts, Lion Website (last visited
September 29, , 2021), https://www.lionprotects.com/firefighter-turnout-gear.
26
   Timeline - For 50 Years, Polluters Knew PFAS Chemicals Were Dangerous But Hid Risks From
Public, Environmental Working Group, (2019), https://static.ewg.org/reports/2019/pfa-
timeline/3M-DuPont-Timeline_sm.pdf; see also, https://www.ewg.org/pfastimeline/.
27
   Id.

                                                 28
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              with dogs.28
          c. In 1963, 3M’s technical handbook classified PFAS as toxic and advised
             that “due care should be exercised in handling these materials.”29
          d. In 1970, a company that purchased 3M’s firefighting foam had to abandon
             a test of the product because all the fish died.30
          e. In the 1970s, DuPont discovered that there were high concentrations of
             PFOA in the blood samples of factory workers at DuPont’s Washington
             Works site.31
          f. By the end of the 1970s, studies performed by, at least 3M, indicated that
             PFAS materials were resistant to environmental degradation and would
             persist in the environment.32
          g. In 1981, 3M, which still supplied PFOA to DuPont and other corporations,
             found that ingestion of PFOA caused birth defects in rats. 3M reported this
             information to DuPont. DuPont then tested the children of pregnant
             employees in their Teflon division and found that of seven births, two
             children had eye defects. Defendants reassigned the female employees, but
             did not inform the EPA or make this information public.33
          h. In 1988, a company that purchased PFAS firefighting foam complained to
             3M because the product was not biodegradable as 3M represented.34
             Subsequently, a 3M employee wrote an internal memo that “3M should
             stop perpetrating the myth that these fluorochemical surfactants are
             biodegradable, but the company continued to sell them.”35
          i. By at least the end of the 1980s, research performed by Defendants,
             including specifically, Defendants 3M and DuPont, manufacturing and/or

28
    Nathaniel Rich, The Lawyer Who Became DuPont’s Worst Nightmare, New York Times
(June 6, 2016), https://www.nytimes.com/2016/01/10/magazine/the-lawyer-who-became-
duponts-worst-nightmare.html.
29
   Id. at fn. 26.
30
   Id.
31
   Id.
32
    PFCS: Global Contaminants: PFCs Last Forever, Environmental Working Group, (April 3,
2003), https://www.ewg.org/research/pfcs-global-contaminants/pfcs-last-forever.
33
   Id. at fn. 26.
34
   The Devil They Knew: PFAS Contamination and the Need for Corporate Accountability, Part
II, Transcript of Hearing Before the Subcommittee on Environment of the Committee on Oversight
and        Reform,      House        of    Representatives    (September        19,    2019),
https://docs.house.gov/meetings/GO/GO28/20190910/109902/HHRG-116-GO28-Transcript-
20190910.pdf.
35
   Id.

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               using PFAS materials indicated that at least one such PFAS material,
               PFOA, caused testicular tumors in a chronic cancer study in rats, resulting
               in at least Defendant DuPont classifying such PFAS material internally as
               a confirmed animal carcinogen and possible human carcinogen.36
           j. In the 1990s, Defendant DuPont knew that PFOA caused cancerous
              testicular, pancreatic and liver tumors in lab animals. One study also
              suggested that PFOA exposure could cause possible DNA damage.37
              Another study of workers found a link between PFOA exposure and
              prostate cancer.38
           k. In response to the alarming and detrimental health impact, DuPont began
              to develop an alternative to PFOA and in 1993, an internal memo
              announced that “for the first time, we have a viable candidate” that
              appeared to be less toxic and showed less bioaccumulation.39 DuPont
              decided against using this potentially safer alternative, however, because
              products manufactured with PFOA were worth $1 billion in annual
              profit.40
           l. On June 30, 2000, 3M and DuPont met to share 3M’s “pertinent data on
              PFOA”. 3M informed DuPont that the half-life of PFOA was much longer
              than animal studies showed.41

       119.    Additionally, approximately fifty years of studies by Defendants, including by 3M
and DuPont, on human exposure to PFAS found unacceptable levels of toxicity and bio-
accumulation, as well as a link to increased incidence of liver damage, various cancers, and birth
defects in humans exposed to PFAS.42 These studies also revealed that, once in the body, PFAS
has a very long half-life and that it takes years before even one-half of the chemicals begins to be
eliminated from the body—assuming, of course, the body experiences no additional PFAS
chemical exposure.43


36
   Id. at fn. 26.
37
   Id.
38
   Id.
39
   Id.
40
   Id.
41
    Internal DuPont Memorandum, DuPont Haskell Laboratory Visit (June 30, 2000),
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1721.pdf.
42
   Id. at fn. 26.
43
   Id.

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          120.        In the face of these findings, and despite passage of the Toxic Substances Control
Act in 1976, which requires companies that manufacture, process or distribute chemicals to
immediately report to the EPA information that “reasonably supports the conclusion” that a
chemical presents a substantial risk to health or the environment, Defendants did not inform the
EPA, Plaintiffs, or the public about the health impacts resulting from exposure to PFAS.44 Indeed,
in at least some instances, Defendants’ own attorneys advised the companies to conceal their
damaging findings on PFAS, which they did for decades.45
          121.        In 2000, 3M announced that it would cease manufacturing a specific PFAS
chemical, PFOS, as well as Class B foam, on the same day the EPA announced that PFOA and
PFOS, two chemicals in the PFAS family, had a “strong tendency to accumulate in human and
animal tissues and could potentially pose a risk to human health and the environment over the long
term.”46
          122.        However, 3M did not recall PFOS, its chemical feedstock, or any Class B foam that
it had previously manufactured, sold, or distributed, or that was then stored at firehouses and being
used by firefighters around the country. And, no other Defendant stopped manufacturing PFAS
chemicals or products containing PFAS. Rather, Defendants continued to manufacture, develop,
market, promote, distribute and sell PFAS chemicals and PFAS-containing products, including
specifically PFAS-containing turnouts, and Class B foams and did so without any warning to
firefighters or to the public concerning the fact that these turnouts and foams contained PFAS, or
that they posed a serious health risk to human health. Defendants instead continued to claim their
products were safe.



44
     Id.
45
     Id. at fn. 34.
46

https://archive.epa.gov/epapages/newsroom_archive/newsreleases/33aa946e6cb11f35852568e10
05246b4.htmlEPA and 3M Announce Phase Out of PFOS, Press Release, United States
Environmental            Protection       Agency           (May         16,        2000),
https://archive.epa.gov/epapages/newsroom_archive/newsreleases/33aa946e6cb11f35852568e10
05246b4.html.

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       123.    By the 2000s, Defendants’ own research of its employees revealed multiple adverse
health effects among workers who had been exposed to PFAS, including increased cancer
incidence, hormone changes, lipid changes, and thyroid and liver impacts.47
       124.    In 2001, a class action lawsuit was filed in West Virginia against DuPont on behalf
of people whose water had been contaminated by the nearby DuPont chemical plant where PFAS
chemicals were manufactured.
       125.    Defendants continued to manufacture, market, promote, distribute, and sell PFAS
and PFAS-containing products, including turnouts and Class B foam, and continued to publicly
claim that these products were safe. Defendants affirmatively suppressed independent research on
PFAS, and instead commissioned research and white papers to support their claims that PFAS and
PFAS-containing products were safe to use, engaging consultants to further this strategy and
ensure that they would continue to profit from these toxic chemicals and products.
       126.    As one consultant wrote in pitching its services to DuPont, it was critical that the
PFAS industry develop an aggressive strategy to “[discourage] governmental agencies, the
plaintiffs’ bar and misguided environmental groups” and “[implement] a strategy to limit the effect
of litigation and regulation on the revenue stream generated by PFOA.” The strategy was further
described by consultant as follows:

       DUPONT MUST SHAPE THE DEBATE AT ALL LEVELS. . . .The outcome of
       this process will result in the preparation of a multifaceted plan to take control of
       the ongoing risk assessment by the EPA, looming regulatory challenges, likely
       litigation, and almost certain medical monitoring hurdles. The primary focus of
       this endeavor is to strive to create the climate and conditions that will obviate, or
       at the very least, minimize ongoing litigation and contemplated regulation relating
       to PFOA. This would include facilitating the publication of papers and articles
       dispelling the alleged nexus between PFOA and teratogenicity as well as other
       claimed harm. We would also lay the foundation for creating Daubert precedent
       to discourage additional lawsuits.48



47
  Id. at fn. 26.
48
  Letter from P. Terrence Gaffney, Esq of The Weinberg Group to Jane Brooks, Vice President,
Special Initiatives, DuPont de Nemours & Company, regarding PFOA (April 29, 2003).

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       127.   Class B foam manufacturers and distributors adopted a similarly aggressive
industry campaign to evade government oversight or public attention of the risks posed by their
products. At a March 2001 meeting of the National Fire Protection Association’s Technical
Meeting on Foam, which included Defendant Class B foam manufacturers Tyco, Chemguard and
National Foam, a 3M representative informed attendees that 3M had discontinued its Class B foam
business, citing concerns about the “proven pervasiveness, persistence and toxicity” of PFOS. 49
Attendees also were informed of evidence that telomer-based fluorosurfactants (used by every
Class B foam manufacture except 3M) degrade to PFOA and, worse, exhibit an even greater degree
of pervasiveness and toxicity than PFOA.
       128.   On or about the same time, certain Defendants, including at least Tyco, DuPont,
Dynax and Buckeye, founded and/or became members of the Fire Fighting Foam Coalition
(“FFFC”) – a non-profit organization of manufacturers, distributors and suppliers of Class B foam
(specifically AFFF). The FFFC’s self-described role was to be “the environmental voice for users
and manufacturers of AFFF”50 – one designed to ignore the health impacts of exposure to PFAS-
containing Class B foams such as AFFF:

       Not too long ago, 3M had environmental concerns about a chemical in their
       product and decided to withdraw from the AFFF market. Even though no other
       manufacturers used the questionable chemical, the withdrawal of 3M from AFFF
       production raised a red flag. As a direct result, a lot of half-truths and
       misinformation published by some well-meaning, but misinformed, groups began
       to surface. One organization went so far as to label our products as "hazardous
       waste" and as posing an "occupational health or environmental hazard." At the
       same time, the Federal government was focusing its attention on the industry and
       needed to identify an industry representative that could provide fact-based
       information and serve as a focal point for dialogue. We decided, therefore, to form
       the FFFC in order to educate, inform and help persuade regulatory and legislative




49
   NFPA-11 Technical Committee Meeting Notes (National Fire Protection Association for
Standards on Low-, Medium- and High-Expansion Foam) (March 14-15, 2001),
https://assets.documentcloud.org/documents/4178280/NFPA-Schedule.pdf.
50
     Fire Fighting Foam Council Website (last visited September 29, 2021),
https://www.fffc.org/afff-update.

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       decision-makers that firefighting foams are a value-added component to any
       firefighting capability.51

       129.    Defendants also pivoted with a new industry strategy. Defendants continued to
produce Class B foams containing PFAS and continued to publicly represent that PFAS and/or
products containing PFAS were safe, while developing newer, “short-chain” PFAS alternatives.
       130.    In 2005, the EPA fined DuPont $16.5 million for failing to submit decades of
toxicity studies of PFOA (one PFAS chemical manufactured by the company). 52 In the face of
and undeterred by the EPA’s action, Defendant turnout manufacturers, such as MSA (Globe) and
Lion, partnered with DuPont and with Defendant Gore to develop, manufacture, market, distribute
and/or sell turnouts made with DuPont’s and/or Gore’s PFAS-based textile coatings (e.g.,
Nomex® and Gore® Protective Fabrics).53
       131.    In 2006, the EPA “invited” eight PFOA manufacturers, including Defendants
DuPont, 3M, and Arkema to join in a “Global Stewardship Program” and phase out production of
PFOA by 2015.54
       132.    By this time, Defendants had begun to aggressively manufacture, market and/or
distribute short-chain PFAS, such as Gen X, claiming that these alternative PFAS chemicals did
not pose significant health risks to humans or the environment. But, these claims, too, were false.
Defendants knew that certain of these short-chain PFAS chemicals had been found in human


51
   Id. at https://web.archive.org/web/20020811142253/http:/www.fffc.org/about.html (captured
August 11, 2002).
52
   Michael Janofsky, DuPont to Pay $16.5 Million for Unreported Risks, New York Times
(December       5,   2005),     https://www.nytimes.com/2005/12/15/politics/dupont-to-pay-165-
millionLion-for-unreported-risks.html.
53
   DuPont and Lion Collaborate to Better Protect Firefighters and First Responders, Press
Release,           DuPont          and         Lion         (January           30,        2013),
https://www.prweb.com/releases/dupont_protection_tech/lion_turnout_gear/prweb10362363.htm
; Our Partners, Globe Website (last visited February 26, 2021), https://globe.msasafety.com/our-
partners; and Firefighter & Emergency Response Protection, DuPont Website (last visited
February 13, 2022), https://www.dupont.com/personal-protection/firefighter-protection.html.
54
   PFOA Stewardship Program, United States Environmental Protection Agency (last visited
February 13, 2022), https://www.epa.gov/assessing-and-managing-chemicals-under-tsca/risk-
management-and-polyfluoroalkyl-substances-pfas#tab-3.

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blood, and that at least one of them produces the same types of cancerous tumors (testicular, liver,
and pancreatic) in rats as had been found in long-chain PFAS studies.55
       133.    In 2011, a C8 Science Panel convened as part of a settlement in the West Virginia
DuPont water contamination case described in paragraph 117, above, began releasing its findings.
The Panel had analyzed the blood serum of nearly 70,000 residents living in the water
contamination area for two long-chain PFAS (PFOA and PFOS), and found significant negative
human health effects (including, kidney cancer, testicular cancer, ulcerative colitis, thyroid
disease, high cholesterol and preeclampsia) associated with exposure to these PFAS chemicals in
the area groundwater.
       134.    In 2013, DuPont entered an agreement with the EPA and ceased production and use
of PFOA – just one of thousands of PFAS chemicals the company makes, promotes and sells.
Defendants, however, continued manufacturing short-chain PFAS materials, chemical feedstock,
and products—all the while peddling them as safer, and as more easily bio-degraded than long-
chain PFAS, despite evidence to the contrary.56
       135.    In 2015, DuPont spun-off its PFAS chemicals business, as well as two-thirds of its
environmental liabilities and 90% of its active litigation, to Defendant Chemours. As part of the
transaction, DuPont required Chemours to indemnify the “new” DuPont for all assigned
environmental liabilities should a regulatory agency or plaintiff seek to hold the “new” DuPont
accountable. As Chemours President Paul Kirsch testified before Congress: “DuPont designed the
separation of Chemours to create a company where it could dump its liabilities to protect itself
from environmental cleanup and related responsibilities.”57
       136.    In June 2018, the Agency for Toxic Substances and Disease Registry (ATSDR), a
division of the Centers for Disease Control and Prevention at the US Department of Health and


55
   Sharon Lerner, New Teflon Toxin Causes Cancer in Lab Animals, The Intercept (March 3, 2016),
https://theintercept.com/2016/03/03/new-teflon-toxin-causes-cancer-in-lab-animals/.
56
   Id. at fn. 17, see Tom Neltner, http://blogs.edf.org/health/2019/02/20/potential-biopersistence-
short-chain-pfas/.
57
   Id. at fn. 34.

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Human Services released an 852-page draft toxicology report analyzing scientific data about the
most common PFAS chemical variants, finding that PFAS “are potentially more hazardous than
previously known, are particularly concerning because of these compounds’ persistence in the
environment and widespread prevalence—PFAS are extremely slow to biodegrade.”58
       137.    In September 2019, DuPont chief operations and engineering officer Daryl Roberts
testified before Congress that the “new DuPont” (to be distinguished from the “old DuPont” which
manufactured and sold PFAS for decades before being spun-off to Chemours) no longer uses or
manufactures PFAS and is no longer responsible for obligations and harms resulting from over 65
years of producing PFAS.59 Roberts remarked that he knew nothing about “old DuPont’s” efforts
to suppress research on PFAS’ toxicity - as testified to by one of DuPont’s former scientists only
a few days earlier.60 Finally, he stated that any liabilities from “old DuPont’s” PFAS operations
were now Chemours’ problem because DuPont is essentially a completely new company with no
past – only a bright future of doing good in the world.61

        E.     Defendants Failed to Warn Plaintiffs of the Dangers of Exposure to PFAS and
               Falsely Represented That Their PFAS Products Were Safe

       138.    As alleged above, Defendants knew that PFAS are persistent, toxic, and bio-
accumulating with a very long half-life. They knew that exposure to PFAS can cause serious and
life-threatening diseases, including cancer.
       139.    Yet, Defendants did not warn Plaintiffs that PFAS and Defendants’ PFAS-
containing products, including turnouts and Class B foams used by the Firefighter Plaintiffs,
contained PFAS, or that exposure to PFAS in the normal and intended use of such products, causes
serious bodily harm and illnesses, including cancer.

58
   A Toxic Threat: Government Must Act Now on PFAS Contamination at Military Bases, Center
for             Science        and              Democracy             (September             2018),
https://www.ucsusa.org/sites/default/files/attach/2018/09/a-toxic-threat-pfs-military-fact-sheet-
ucs-2018.pdf.
59
   Id. at fn. 34.
60
   Id.
61
   Id.

                                                36
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       140.   Instead, Defendants falsely represented—and continue to falsely represent— that
PFAS and PFAS-containing products, including turnouts and Class B foams, are safe and not
harmful to humans or the environment.
       141.   Such assertions fly in the face of science and a global movement toward eliminating
this class of chemicals from consumer products. In 2020, for example, Congress passed legislation
to address PFAS in turnouts and foam,62 and numerous states have severely restricted and/or
banned PFAS-containing firefighting foam. For example, California will also require sellers of
turnout gear to notify purchasers if it contains PFAS while Colorado has banned PFAS-containing
turnouts as of 2022.63 The U.S. Food and Drug Administration similarly has called for phasing
out of short-chain PFAS that contain 6:2 fluorotelomer alcohol (6:2 FTOH).64 And private
companies like Home Depot, Lowes and Staples recently have begun to discontinue selling
products containing any PFAS, as have several outdoor, durable clothing companies (e.g.
Columbia and Marmot), clothing retailers (e.g. H&M, Levi Strauss & Co), shoe companies (e.g.


62
    Ryan Woodward, Congress Passes Legislation to Address PFAS Chemicals Impacting
Firefighters, Fire Rescue 1, (December 17, 2020), https://www.firerescue1.com/legislation-
funding/articles/congress-passes-legislation-to-address-pfas-chemicals-impacting-firefighters-
Sp8MFif5dAbD4ZrI/.
63
    Andrew Wallender, Toxic Firefighting Foam With PFAS Scrutinized by Multiple States,
Bloomberg Law (June 18, 2020), https://news.bloomberglaw.com/pfas-project/toxic-firefighting-
foam-with-pfas-scrutinized-by-multiple-states; Cheryl Hogue, California Bans PFAS Firefighting
Foams,        Chemical        &        Engineering      News        (October      1,       2020),
https://cen.acs.org/environment/persistent-pollutants/California-bans-PFAS-firefighting-
foams/98/i38#:~:text=California%20is%20halting%20the%20sale,US%20market%20to%20do%
20so; Marianne Goodland, While Dozens of Bills Are Getting Axed, A Bill on Firefighting
Chemicals         Sails      On,        Colorado       Politics       (May       28,       2020),
https://www.coloradopolitics.com/legislature/while-dozens-of-bills-are-getting-axed-a-bill-on-
firefighting-chemicals-sails-on/article_1b1e05f2-a11e-11ea-a270-230a36e06594.html;
Legislature Takes Strongest Stand Yet to Phase out PFAS in Firefighting Foam, Washington State
Council of Fire Fighters (March 5, 2020), https://www.wscff.org/legislature-takes-strongest-
stand-yet-to-phase-out-pfas-in-firefighting-foam/;
64
   FDA Announces the Voluntary Phase-Out by Industry of Certain PFAS Used in Food
Packaging, U.S. Food and Drug Administration, July 31, 2020, https://www.fda.gov/food/cfsan-
constituent-updates/fda-announces-voluntary-phase-out-industry-certain-pfas-used-food-
packaging.

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Adidas and New Balance), car seat manufacturers (e.g. Britax and Graco), furniture companies
(e.g. IKEA), personal care companies (e.g. Johnson & Johnson and Oral-B), and textile
manufacturing companies.65 Most recently, on June 15, 2022, the U.S. Environmental Protection
Agency issued a Health Advisory setting a new interim lifetime exposure limit for perfluorooctane
sulfonic acid (PFOS) and perfluorooctanoic acid (PFOA) in drinking water at 0.02, 0.004 parts per
trillion (ppt) respectively, and final health advisories for perfluorobutane sulfonic acid (PFBS) and
hexafluoropropylene oxide dimer acids and its ammonium salts (GenX) in drinking water at 2,000
and 10 parts per trillion (ppt) respectively.66
                (1)    Defendants Provide No Safety Warnings on Product Labels
        142. Plaintiffs allege that the packaging on the PFAS-containing Class B foam
containers used for mixing Class B foam with water, pumping the mixture into engines, and for
spraying and laying foam blankets for fire suppression or fire suppression training, contained no
warning that the Class B foam contained PFAS. Nor did it inform persons handling or using the
foam as it was intended to be handled that such use can result in exposure to PFAS and serious
bodily harm.
        143.    Below are photos typical of the Class B foam containers manufactured, marketed,
distributed, or sold by Defendants in Massachusetts that Firefighter Plaintiffs used in training or
in fire suppression during their firefighting careers. The labels on the containers warn only of
possible skin or eye irritation, and suggest rinsing areas of contact with water. They contain no
information about the Class B foam containing PFAS or PFAS-containing materials, and provide
no warning whatsoever of the human health risks and serious health conditions associated with


65
   Muhannad Malas, Home Depot, Lowe’s and Staples Take Action to Protect Their Customers
from PFAS and Other Harmful Toxics Lurking in Carpets and Office Supplies, Environmental
Defense (November 5, 2019), https://environmentaldefence.ca/2019/11/05/home-depot-lowes-
staples-protect-customers-toxics/; PFAS-Free Products, PFAS Central, (last visited February 15,
2021), https://pfascentral.org/pfas-free-products/.
66
   Lifetime Drinking Water Health Advisories for Four Perfluoroalkyl Substances (PFAS), U.S.
Environmental Protection Agency, June 15, 2022,
https://www.epa.gov/system/files/documents/2022-06/prepublication-four-pfas-june-2022.pdf

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PFAS exposure resulting from the normal and intended use of Class B foam in fire suppression or
fire suppression training.




       144.    Plaintiffs further allege that turnouts containing PFAS or PFAS materials sold by
Defendants in Massachusetts, and used by the Firefighter Plaintiffs in training, emergency
incidents, or in fire suppression during their firefighting careers, also contained no warning that
the turnouts contain PFAS or PFAS materials. Nor did these labels inform persons handling,
wearing, or using the turnouts as they were intended to be handled, worn or used can result in
exposure to PFAS and serious bodily harm.




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       145.    Below are photos typical of warning labels for turnouts manufactured, marked, sold
and distributed by Defendants MSA/Globe and Lion. As depicted below, the labels do not disclose
that the turnouts contain toxic PFAS or PFAS materials, and contain no warning that handling,
wearing, or using the turnouts as they were intended to be handled, worn or used can result in
exposure to PFAS and serious bodily harm. Further, while the labels provide washing instructions,
the instructions do not advise that turnouts should be washed in a commercial extractor to prevent
cross-contamination and PFAS-exposure to family members who handle or wash the turnouts
with other garments in home washing machines.




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               (2)   Defendants’ MSDS Sheets Do Not Warn About PFAS or PFAS Exposure
       146.    A Material Safety Data Sheet (or “MSDS”) is a document that Occupational Safety
and Health Administration (OSHA) requires companies to provide to end users for products that
contain substances or chemicals that are classified as hazardous or dangerous. Access to such
information is necessary for the Firefighter Plaintiffs to provide a safe and effective response in
emergency situations.

       147.     The MSDS provided with Defendants’ Class B foams did not – and to this day do
not – state that these foams contain PFAS or PFAS-containing materials; that PFAS is persistent,
toxic and bio-accumulating; or that PFAS exposure causes serious bodily harm. To the contrary,
the MSDS falsely stated that the Class B foams and/or their contents were not known carcinogens
and did not cause birth defects.
       148.    Even now, the MSDS do not reflect the known serious health risks and hazards
associated with exposure to PFAS in these Class B foams. For example, a MSDS updated on as
recently as May 19, 2021by Defendant National Foam for AFFF stated the product was not
considered carcinogenic - contrary to decades of science.67
               (3)   Defendants’ Misrepresentations About PFAS Continue to this Day
       149.    Despite their decades of knowledge about PFAS and its dangers, Defendants
continue to make false claims, continue to misrepresent the safety of PFAS, and continue to
minimize and fail to warn about the hazards of exposure to PFAS, or turnouts and Class B foams
made with or containing PFAS.
       150.    Defendants’ misinformation campaign is long-standing, and continues to this day.
Some pertinent examples include:

           a. 2017 – Defendant Lion’s President, Stephen Schwartz, wrote a letter to the
              editor of the Columbus Dispatch, expressing outrage at the assertion in a


67
  National Foam Safety Data Sheet for Centurion (TMC6) 6% Aqueous Film Forming Foam
Concentrate        (AFFF)     (May       19,      2021)      https://nationalfoam.com/wp-
content/uploads/sites/4/NMS340_Centurion-6-AFFF-Concentrate_052192021.pdf.

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              government filing that firefighters may have been exposed to PFAS through
              turnout gear. Schwartz called this assertion false, stating that Lion’s turn-out
              gear is not treated or made with PFOS or PFOA:. “PFOAs and PFOSs have
              never been components of Lion’s turn-out gear, either as a coating or as a
              textile.” He acknowledged that turn-out gear is treated with PTFE to provide
              a durable water repellant, and that the textile industry in the past had used
              PFOA as a processing aid to manufacture PTFE moisture barrier films and
              repellants. “It is possible that trace amounts may have been present as a
              residue when the films and finishes were incorporated into Lion’s turn-out
              gear. However, based on all available scientific data, such nominal trace
              amounts, if they existed at all, would not have posed any health risk to
              firefighters. There is absolutely no connection at all between PFOS and
              firefighter turnout gear.” (Emphasis added).68

          b. 2018 – The National Fire Protection Association (which maintains
             committees on foams and turnouts that are comprised, in part, of certain
             Defendants) issued a publication listing 11 ways to minimize risk of
             occupational cancer – the suggestions centered on wearing turnouts for
             protection resulting from combustion or spills, and cleaning turnouts after
             exposure to chemicals. There was not a single mention of avoiding contact
             with foam and/or the risks of wearing turnouts containing PFAS or PFAS-
             containing materials.69

          c. 2019 – Defendant Lion issued a Customer Safety Alert for PFOA and Turnout
             Gear stating: “Your Lion turnout gear continues to be safe and ready for
             action especially when properly maintained. It is extremely important that
             firefighters continue to wear and properly care for their gear to stay safe on
             the job.”

          d. 2019 – Defendant 3M Vice President, Denise Rutherford, testified before
             Congress that she absolutely agreed with the statement that “the weight of
             current scientific evidence does not show that PFOS or PFOA cause



68
   Letter from Lion president Stephen A. Schwartz to Ala D. Miller, Editor, The Columbus
Dispatch (October 30, 2017), http://files.constantcontact.com/bf8abd7a001/01f5d727-d72e-42dc-
971b-caa9c2855800.pdf.
69
   11 Best Practices for Preventing Firefighter Cancer Outlined in New Report Put Out by VCOS
and NVFC, National Fire Protection Association Xchange (August 16, 2018),
https://community.nfpa.org/community/nfpa-today/blog/2018/08/16/11-best-practices-for-
preventing-firefighter-cancer-outlined-in-new-report-put-out-by-vcos-and-nvfc.

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               adverse health effects in humans at current rates of exposure.” (emphasis
               added)70

           e. 2019 - The Fire Fighting Foam Council (of which many Defendants have been
              members since its inception in 2001) wrote in their newsletter that: “Short-
              chain (C6) fluorosurfactants do not contain or breakdown in the environment
              to PFOS or PFOA and are currently considered lower in toxicity and have
              significantly reduced bio-accumulative potential than long-chain PFAS.”71

           f. 2019 – Defendant Dynax founder Eduard Kleiner stated that C6-based
              surfactants [short-chain PFAS] do not bioaccumulate.72

           g. 2019 – Defendant Gore issued a public statement, stating that “the potential
              exposures and associated risks of cancer effects from PFOA alternative and
              non-polymeric perfluoroalkyl substances in Gore Components [turnout gear]
              are insignificant.”73
           h. 2020 - FluoroCouncil – the lobbying arm of the PFAS industry – maintains
              that PFAS fluorotelomers that are in Class B foam and turnouts do not cause
              cancer, disrupt endocrine activity, negatively affect human development or
              reproductive systems, do not build up in the human body, and do not become
              concentrated in the bodies of living organisms.74

          i.   2020 – The Fire Fighting Foam Council website states: “The short-chain (C6)
               fluorosurfactants that have been the predominant fluorochemicals used in


70
   Gabe Schneider, 3M Grilled over PFAS Chemicals at Congressional Hearing, MinnPost
(September 11, 2019), https://www.minnpost.com/national/2019/09/3m-grilled-over-pfas-
chemicals-at-congressional-hearing/.
71
      AFFF Update Newsletter, Fire Fighting Foam Council (April 2019),
https://tinyurl.com/y57c5jwx.
72
   Marc S. Reisch, What Is the Price of Fire Safety?, Chemical & Engineering News (January 14,
2019), https://cen.acs.org/business/specialty-chemicals/price-fire-safety/97/i2?ref=search_results.
73
   W. L. Gore and Associates, Exposure Assessment and Cancer Risk Characterization for
Firefighters from Non-Polymeric PFAS Residuals in Gore Components Used in Firefighting Gear,
(August                                        20,                                    2019),
https://www.goretexprofessional.com/sites/tof/files/pdfs/Firefighter%20Exposure%20Assessmen
t%20Short%20Chain%20Non%20Polymer%20Residual.pdf.
74
  An Important Update About FluoroCouncil, FluoroCouncil, Global Industry Council for Fluoro
Technology                (https://portal.ct.gov/DEEP/Remediation--Site-Clean-Up/PFAS-Task-
Force/Pollution-Prevention-Committee - see “Resources” -- Fluorocouncil PFAS Information
(August 23, 2019).

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                   fluorotelomer-based AFFF for the last 25 years are low in toxicity and not
                   considered to be bio-accumulative based on current regulatory criteria.”75

              j.   2020 – The Fire Fighting Foam Council’s Best Practice Guidance for Use of
                   Class B Foam - which was published in May 2016 and has not been updated
                   to reflect the latest research - focuses entirely on eliminating and containing
                   foam to minimize impact on the environment. It makes no mention of how
                   to minimize the impact on firefighters who routinely handle, prepare, spray,
                   or use Class B foam during training or in firefighting.76

              k.   2020 – Defendant Lion-hired consultant Paul Chrostowski, PhD took out a
                   full-page in Firefighter Nation to argue that turnout gear is completely safe
                   and any evidence to the contrary, including the Notre Dame study, is
                   unreliable and fear-mongering. “[E]ven if PFAS were found in their turnout
                   gear, at this time there is no credible evidence that it ends up in firefighters
                   bodies in amounts that would be higher than the general population…. the
                   connection between PFAS and cancer is extremely weak. The few peer-
                   reviewed epidemiological studies that have found an association were not
                   statistically significant and inconsistent with other studies…. The materials
                   used in turnout gear are the safest materials available, and without them,
                   firefighters would be at extreme risk for burns and exposure to known cancer-
                   causing toxic chemicals present on the fireground, as well as metabolic heat
                   stress….Alternative materials tried by the U.S. fire service thus far have
                   proven to be unsafe.”77

              l.   2020 – Defendant Lion through its hired consultant Chrostowski also stated
                   in Firefighter Nation that all turnouts are compliant with the standards set by
                   the NFPA and Swiss organization OEKO-TEX’s Standard 100 for PPE and
                   Materials for PPE. “The OEKO-TEX certification process tests for the
                   presence of unsafe levels of trace materials, including PFOA.”78



75
    Fact Sheet on AFFF Fire Fighting Agents, Fire Fighting Foam Council (2017),
https://tinyurl.com/yyxscyas.
76
   Best Practice Guidance for Use of Class B Firefighting Foams, Fire Fighting Foam Council
(May 2016), https://tinyurl.com/2kzdsed9.
77
   Paul Chrostowski, Research and Independent Testing Shows Firefighters’ Turnout Gear
Remains Safe Despite Claims (June 3, 2020), https://www.firefighternation.com/health-
safety/research-and-independent-testing-shows-firefighters-turnout-gear-remains-safe-despite-
claims/#gref.
78
     Id.

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         m. 2021 - In a New York Times article, Defendant W.L. Gore maintained that
            its turnout products were safe.79

         n.   2021 – Defendant Lion stated that the representations articulated by its
              consultant Paul Chrostowski in 2020 (see above), reflect its position: “Dr.
              Chrostowski’s report says it all for Lion.”80

         o.   2021 – Defendants MSA Globe and W. L. Gore have continued to state that
              their products have been tested and are safe.81

         p.   2022 – Defendant 3M stated that it was not "necessary or appropriate" to
              declare any PFAS hazardous.82 It also states on its website that: “The weight
              of scientific evidence from decades of research does not show that PFOS or
              PFOA causes harm in people at current or past levels….Decades of research
              into the health of these workers has not identified negative health outcomes
              caused by exposure to PFOA or PFOS….It is important to know that while
              some studies may find links or associations with possible health outcomes,
              this is not the same as causation. The weight of scientific evidence does not
              show that PFOS or PFOA causes harm to people at current or historical levels.
              Although PFAS have been detected in the environment at extremely low
              levels, their mere presence does not mean they are harmful…. Although it has
              been widely reported that no causal connection has been identified between
              exposure to PFOS or PFOA and harm to people’s health, there is a great deal
              of misinformation in the public domain…. The findings of the C-8 science
              panel are also frequently misunderstood.”83



79
  Hiroko Tabuchi, Firefighters Battle an Unseen Hazard: Their Gear Could Be Toxic, New York
Times, (January 26, 2021), https://www.nytimes.com/2021/01/26/climate/pfas-firefighter-
safety.html.
80
   David Ferry, The Toxic Job of Being A Hero, Men’s Health, (September 21, 2021),
https://www.menshealth.com/health/a37624731/cancer-firefighter-gear-pfas/.
81
  Andrew Wallender, Firefighters Want Halt on Money From Makers of PFAS-Laden Gear,
Bloomberg Law, (January 19, 2021), https://news.bloomberglaw.com/pfas-project/firefighters-
want-halt-on-money-from-makers-of-pfas-laden-gear.
82
   Jim Spencer, 3M's Support for PFAS Could Cost Taxpayers Billions of Dollars, Star Tribune
(September 11, 2021), https://www.startribune.com/3m-s-support-for-pfas-could-cost-taxpayers-
billion-of-dollars/600096094/.
83
    3M website, PFAS Stewardship – Health Science (last visited January 12, 2022),
https://www.3m.com/3M/en_US/pfas-stewardship-us/health-science/.

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           q.   2022 - DuPont and Chemours also continue to assert that there is little
                scientific evidence to support that PFAS and/or certain PFAS, like
                fluoropolymers, are harmful to human health.84

           r.   2022 - DuPont maintains that turnouts keep firefighters safe and “protect
                against the intrusion of…chemicals.”85


        151.    As frequent sponsors and advertisers in fire service publications, Defendants have
been so influential in the industry that fire service leadership has echoed these narratives.
        152.    For example, in 2017, the International Association of Fire Fighters (“IAFF”),
which represents more than 324,000 full-time professional firefighters, issued a statement that both
mischaracterized and purported to state that the risks associated with exposure to PFAS and PFAS
chemicals and materials in turnouts and Class B foams was minimal to non-existent.86 The
statement even encouraged firefighters to continue to wear turnouts and use legacy Class B foams,
creating a false sense that these PFAS-containing turnouts and foams were safe. The statement
reads, in relevant part:

        Importantly, PFOA use has been almost completely phased out in the US….Fire
        fighters may have additional PFOA exposure sources such as older Class B
        firefighting foams. If PFOA is a combustion product of PFOA-containing
        consumer products made prior to phasing out use of this chemical, fire fighters
        will be exposed in fire suppression activities. However, the data are too limited at

84
     DuPont website, Information on PFAS (last visited January 12, 2022),
https://www.pp.dupont.com/pfas/what-governmental-agencies-say.html; Chemours website, Our
Commitment        to  PFAS      Stewardship    (last     visited     January     12,  2022),
https://www.chemours.com/en/corporate-responsibility/sustainability-safety/our-commitment-to-
pfas-stewardship.
85
        Id.   at    DuPont     website     (last    visited     January     12,                 2022),
https://www.pp.dupont.com/knowledge/dupont-technology-in-your-turnout-gear.html.
86
  The IAFF maintained this position until January 2021 when IAFF members demanded that the
IAFF leadership hold turnout and Class B foam manufacturers accountable.86 In July 2021, new
IAFF President Edward Kelley made clear that the cancer rates of firefighters is unacceptable and
that IAFF is actively working to rid the fire service of the toxic PFAS found in firefighting foams
and turnout gear. “The data is becoming clearer. The gear that’s supposed to be protecting us is
poisoning us. It defies logic. IAFF, Address by IAFF General President Edward Kelly, Facebook
(July 16, 2021), https://www.facebook.com/IAFFonline/videos/180233720677454.

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       present to determine this. PFOA is unlikely to be a component in recently US
       manufactured turnout gear. However, if PFOA is a combustion product, it may be
       present as a contaminant on turnout gear. PFOA may also be present as a
       manufactured component of legacy turnout gear….The exposure contribution
       from any such PFOA content is likely to be minimal since volatilization from the
       manufactured product would be required….At this time, IAFF does not
       recommend that legacy turnout gear be replaced outside of its lifecycle. Fire
       fighters wishing to minimize PFOA exposure should continue to wear their
       PPE…and regularly decontaminate their turnout gear. IAFF will continue to
       monitor developments and update this fact sheet should new information become
       available.87


       153.    The IAFF maintained the Defendants’ position that the turnout gear and Class B
foam was safe until new leadership took over in 2021. Because of these and other false claims and
misrepresentations on the part of Defendants, the Firefighter Plaintiffs did not know and, in the
exercise of reasonable diligence, could not have known that the turnouts and Class B foams they
used contained PFAS or PFAS-containing materials, and caused the Firefighter Plaintiffs to be
exposed to PFAS and/or PFAS-containing materials, causing them to suffer cancers and other
serious illnesses as a result of such exposure.
       154.    Also, in January 2021, Defendants DuPont and Chemours along with Corteva (the
agricultural unit of DuPont that it spun off in 2019) announced a cost-sharing agreement worth $4
billion to settle lawsuits involving the historic use of PFAS – thereby acknowledging, at long last,
the significant harm their PFAS chemicals have caused to human health and the environment.
       155.    The Firefighter Plaintiffs only learned for the first time that they had significantly
elevated levels of PFAS in their blood in May 2022, at the earliest, when they received test results
of their blood serum.




87
   International Association of Firefighters, Statement on PFOA and Turnout Gear (May 2017),
https://tinyurl.com/y29mfh69.

                                                  48
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             F.    New Research Indicates That Firefighters are at Significant Risk of Harm
                   From Exposure to PFAS in Turnouts and Class B Foams — But Defendants
                   Continue to Discount or Deny These Risks
            156.   While historical research (and follow-on litigation) has centered on environmental
impacts and environmental exposures associated with PFAS and PFAS-containing products,
recent studies have focused specifically on the serious health impacts to firefighters stemming
from their occupational exposure to turnouts and Class B foams containing PFAS.
            157.   In October 2019, for example, an expert panel of the International Pollutants
Elimination Network (IPEN), an international non-profit organization comprised of over 600
public interest non-governmental organizations dedicated to improving global chemical waste
policies, published a scientific paper that, in the words of its authors, “presents unequivocal
evidence from recent studies that firefighters” using Class B foams (primarily AFFF) “have
unexpectedly elevated blood levels” of PFAS, including, specifically, PFHxS and PFOS, with
PFHxS (a short-chain, C6 PFAS) being “potentially of greater concern than PFOS given its much
longer elimination half-life in humans.”       88
                                                    The paper explains that “[f]irefighters can be
significantly exposed to PFHxS and other PFAS from firefighting foam via various occupational
mechanisms including direct exposure during use as well as exposure from contaminated personal
protective equipment (PPE), handling of contaminated equipment, managing PFAS foam wastes,
occupation of contaminated fire stations and consumption of contaminated local water and
produce. Cross-contamination and legacy PFAS residues from inadequately decontaminated
appliances after transitioning to fluorine-free foam can remain a long-term problem.”89 The panel
concluded that “[o]ngoing exposure to PFHxS, PFOS and other PFAS amongst firefighters
remains a major occupational health issue,” noting that “[b]io-accumulation and very slow bio-
elimination may be very significant influencing factors in PFHxS exposure” in firefighters90. “Of


88
   Perfluorohexane Sulfonate (PFHxS) – Socio-Economic Impact, Exposure and the Precautionary
Principle          Report,          IPEN        Expert       Panel      (October        2019),
https://ipen.org/sites/default/files/documents/pfhxs_socio-economic_impact_final_oct.2019.pdf.
89
   Id. at p. 25.
90
     Id.

                                                    49
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greater concern,” the panel observed, “is that firefighter blood levels for PFOS and PFHxS are
many times higher than the median values for the general…population.”91
            158.     In June 2020, scientists at the University of Notre Dame published a ground-
breaking study on PFAS in turnout gear, and the exposure risks posed to firefighters that wear,
wore, or handle such gear (“Notre Dame Turnout Study”). The Notre Dame Turnout Study
analyzed over 30 sets of used and unused (still in their original packaging) turnout gear made by
six U.S. manufacturers, including Defendants MSA/Globe, Lion and Honeywell, over several
production years, as listed below:92




            159.     The Notre Dame Turnout Study noted that these manufacturers’ turnout gear (or
personal protective equipment-PPE, as it is described in the study) are manufactured “from textiles
that are made from fluoropolymers (one form of PFAS) or extensively treated by PFAS in the form
of side-chain fluoropolymers.”93          According to the researchers, “[t]hese PFAS include
fluoropolymer materials such as PTFE used as a moisture barrier in the inner layers of turnout
gear.”94 The study found significant levels of PFAS chemicals – including PFOA, PFOS, PFBA,
PFPeA, PFHxA, PFHpA, PFNA, PFDA, PFUnA, PFDoA, PFTrDA, PFToDA, PFBS, PFOSA, N-
EtFOSA, MeFOSAA, N-MeFOSE, N-EtFOSE and 6:20FTS – in both new and used turnout gear,

91
     Id.
92
     Id. at fn. 6.
93
     Id. at p. A.
94
     Id.

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and across layers, portions, and materials in the turnout gear, including in material layers that are
not intentionally treated with PFAS by the manufacturer, thereby providing “the first evidence that
suggests PFAS appear to migrate from the highly fluorinated layers and collect in the untreated
layer of clothing worn against the skin.”95
            160.    These findings suggest that, as the garments are worn, PFAS from the outer shell
and the moisture barrier can migrate from the turnouts and contaminate both the firefighter, their
apparatus and workplace with PFAS. The analysis also indicated that fluoropolymers from the
outer layer decompose into other PFAS, including PFOA.




            161.    “Startlingly,” researchers reported, “garment to hand transfer of total fluorine in the
ppm range was also observed when researchers simply manipulated the textiles in [the]
laboratory.”96        The accumulation of PFAS on researchers’ hands strongly suggests that
transference of ppm levels of PFAS can occur merely by handling the turnouts and that PFAS
exposure pathways include inhalation, ingestion and/or absorption (through dermal contact) – all



95
     Id. at p. C.
96
     Id.

                                                      51
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of which DuPont internally acknowledged as being toxic in 1980. Such exposure pathways are a
concern not only for firefighters that rely on turnouts to protect them from heat, fire, water and
chemical hazards in the field, but to family members who may be exposed to the PFAS in turnouts
as the result of home washing or storage. Lead researcher Graham Peaslee commented that
turnouts are “the most highly fluorinated textiles I’ve ever seen”97 and that the level of PFAS in
the turnout gear means that firefighters are “swimming in a sea of [PFAS]. Those numbers for
scientists are scarily high...”98




        162.    Despite these findings, Defendants have been quick to mischaracterize, dismiss or
downplay the significance of the Notre Dame Turnout Study. Defendant MSA/Globe, when
contacted about the study and asked whether Globe planned to study this issue and find an

97
   Raleigh McElvery, Protective Gear Could Expose Firefighters to PFAS, Chemical and
Engineering      News       (July    1,     2020), https://cen.acs.org/environment/persistent-
pollutants/Protective-gear-expose-firefighters-
PFAS/98/i26?fbclid=IwAR3ktyIcasjnxHiv3RNDRJldZmunQleAEoS3Av225uOscj2hFbffVcO3-
Go.
98
  Andrew Wallender, Firefighters Face New Possible Risk From Toxic PFAS: Their Gear,
Bloomberg Law (June 23, 2020), https://news.bloomberglaw.com/pfas-project/firefighters-face-
new-possible-risk-from-toxic-pfas-their-gear.

                                                  52
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alternative to PFAS for turnouts, merely responded thusly: “[P]rotecting (firefighters) is Globe’s
business; every piece of our turnout gear meets or exceeds applicable industry standards."99
       163.    Defendant Lion’s responses have been similar, and have also dismissed or
minimized the significance of the Notre Dame Turnout Study’s findings. Lion issued a Customer
Safety Alert for PFOA and Turnout Gear stating: “Your Lion turnout gear continues to be safe and
ready for action especially when properly maintained. It is extremely important that firefighters
continue to wear and properly care for their gear to stay safe on the job.”100
       164.    The Customer Safety Alert goes on to stress that Lion does not use PFOA or PFOS
(two long-chain PFAS chemicals) in its turnouts.101 It does not, however, address that Lion’s
turnouts in fact contain other PFAS chemicals, nor warn firefighters or the public about health
harms associated with exposure to these toxic, bio-accumulating chemicals.




       165.    As noted above, Defendant Lion’s paid consultant, Dr. Paul Chrostowski, also has
taken aim at the Notre Dame Turnout Study and its findings. Refuting a Fire Rescue magazine


99
   Blair Miller, Local Firefighters Concerned About Potentially Dangerous Chemicals on Gear,
Boston 25 News (February 26, 2019), https://www.boston25news.com/news/local-firefighters-
facing-concerns-over-potentially-dangerous-chemicals-on-gear/925236612/.
100
      Lion Customer Safety Alert – PFOA and Turnout Gear (April 24, 2019),
https://cdn2.hubspot.net/hubfs/3475623/LION_PFOA_factsheet_042419.pdf.
101
    Id.

                                                 53
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article about the study,102 Chrostowski repeated Lion’s website statement that “PFOA was never
part of the gear itself and frequent independent testing has found only trace amounts of it in any
of the gear – not nearly enough to cause concern, and in amounts similar to consumer products.”103
Chrostowski went on to say “[t]he fact is that one may find trace amounts of ‘short-chain’ PFAS
such as PFBS and PFHxA in firefighting textiles, but the scientific research shows that these
materials are far less toxic than even PFOA and at the tiny trace levels the risk are extremely low
based on numerous credible published scientific research papers.”104 Finally, Chrostowski falsely
stated that the link between PFAS exposure and cancer is “extremely weak.”105
       166.    And yet, Lion has admitted publicly that dermal absorption is a pathway of




102
    Larissa Conroy, What If I Told You That Your Bunker Gear Was Causing Cancer?, Fire Rescue
(May 28, 2020), https://www.firefighternation.com/firerescue/what-if-i-told-you-that-your-
bunker-gear-was-causing-cancer/#gref.
103
    Paul Chrostowski, Ph.D., QEP, Research and Independent Testing Shows Firefighters’ Turnout
Gear       Remains     Safe     Despite     Claims,   Fire     Rescue     (June   3,     2020).
https://firerescuemagazine.firefighternation.com/2020/06/03/research-and-independent-testing-
shows-firefighters-turnout-gear-remains-safe-despite-claims/ - gref.
104
    Id.
105
    Id.

                                                54
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exposure to cancer-causing chemicals for firefighters. In Lion’s Not in Our House cancer
awareness fact sheet that currently appears on the company’s website, Lion warns firefighters:
“For every 5 degree increase in temperature, skin becomes 400% more absorbent. The hotter you
are, the more carcinogens your skin absorbs.106 This statistic is alarming given that the core body
temperature of firefighters routinely increases during firefighting activities while wearing turnouts
which contain known carcinogens.107
       167.    Likewise, Defendant Honeywell has stated: “The skin on the neck is very thin and
prone to absorbing carcinogenic particulates.”108

       168.    Another recent Harvard study examining PFAS levels in fire stations dust found
that “dust in turnout gear locker areas and adjoining apparatus bays had significantly higher
fluorine concentrations compared to living rooms in fire stations,” as well as fluorine




106
                                          Lion                                        website,
https://cdn2.hubspot.net/hubfs/3475623/NOT%20IN%20OUR%20HOUSE%20Tip%20Sheet_In
fographic%20(02-02-19).pdf (last visited February 13, 2022).
107
    Nancy Espinoza, Can We Stand the Heat?, Journal of Emergency Medical Services, (April 30,
2008), https://www.jems.com/operations/can-we-stand-heat-study-reveal/; Gavin P. Horn, et al.,
Thermal Response to Firefighting Activities in Residential Structure Fires: Impact of Job
Assignment and Suppression Tactic, Ergonomics (July 31, 2017), https://tinyurl.com/4j2mz7f7.
108
    Ronnie Wendt, Innovations in Turnout Gear, Industrial Fire World (March 17, 2021),
https://www.industrialfireworld.com/598931/innovations-in-turnout-gear.

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concentrations typically found in Class B foam and/or textiles as opposed to consumer products.109
           169.       For years, the IAFF has held a yearly cancer summit and until 2021, had done little
to address the PFAS in turnouts.110 Defendants, including at least DuPont, Gore, Lion and
MSA/Globe, have been regular sponsors of the IAFF Cancer Summit.
           170.       At this event, as well as in firefighter cancer-related publications, programs and
events, Defendants repeatedly used the summit as an opportunity to push the narrative that
incidence of cancer among firefighters is attributable either to other chemicals encountered in the
line of duty, or firefighters’ failure to wash their turnouts after every call. Not once have the
turnout Defendants admitted that the PFAS materials in their products has been found to be
carcinogenic, and that the very equipment that should be protecting firefighters are causing the
most harm. Further, Lion’s recently launched “Not in Our House” cancer awareness program is
sadly ironic in that it encourages firefighters themselves to make a pledge to protect themselves
from carcinogens linked to cancer (“I will make every effort to protect myself and my team by
doing my part to take precautions that will minimize the risk of exposure to carcinogens that may
lead to cancer…”) while all the while refusing to take any corporate responsibility for continually
exposing firefighters to carcinogens in their protective gear.111

109
      Id. at fn. 7.
110
    As alleged above, in para. 153 and fn. 86, IAFF has only recently begun to take action related
to PFAS exposure due to pressure from its firefighter members. At the IAFF Annual Meeting in
January 2021, two groundbreaking PFAS-related firefighter safety resolutions passed with the
support of 99% of the membership. The resolutions require IAFF to: (1) sponsor independent
testing of turnouts for PFAS and PFAS-related hazards, (2) oppose the use of PFAS and PFAS-
containing materials in turnouts, (3) require manufacturers to cease using PFAS in their
firefighting products (4) identify which manufacturers will not cease using PFAS, (5) issue an
advisory to fire departments to stop sending used or old turnouts to communities that are not able
to buy new gear and instead provide grants to purchase new gear, and (6) cease accepting financial
sponsorships from any PFAS/chemical-related companies unless it is to purchase PFAS-free
turnout gear. Andrew Wallender, PFAS Resolutions Overwhelmingly Approved by Firefighters’
Union, Bloomberg Law (February 1, 2021), https://news.bloomberglaw.com/daily-labor-
report/pfas-resolutions-overwhelmingly-approved-by-firefighters-union;        San       Francisco
Firefighters Cancer Prevention Foundation, (last visited September 30, 2021),
https://www.sffcpf.org/resolutions-to-protect-members-from-toxic-substances-in-ppe/.
111
      Rachel Zoch, Take A Pledge To Stop Cancer At the Door, Fire Rescue 1 (January 28, 2019),

                                                      56
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        171.    Firefighter Plaintiffs deserve more. They are the first to respond to emergencies
faced by their community, and never hesitate to help. Whether delivering a baby, responding to
a fire, medical emergency, accident, mass shooting, terrorist attack, natural disaster, or teaching
kids about fire safety, firefighters always put the community first. When a child is drowning in a
pool or a family is caught in a burning house, they do not stop to calculate whether they will
benefit by doing the right thing. They are true public servants. They step in and do what is needed
when it is needed the most. Their health, safety and well-being must be of the highest priority.

        G.      The Firefighter Plaintiffs Have Significant Levels of PFAS in their Blood
        172.    After years of Defendants suppressing research showing PFAS to be toxic and
associated with cancer and other serious illnesses, misrepresenting the safety of PFAS and PFAS-
containing turnouts and Class B foam, and attributing the cause of firefighters’ cancers and other
serious illnesses to factors other than turnouts and Class B foams (or the PFAS chemicals and
materials in these foams and turnouts), Firefighter Plaintiffs could not know and, in fact, did not
know that significant levels of PFAS was likely to or had bio-accumulated in their blood.
        173.    Prior to filing this complaint, Firefighter Plaintiffs submitted blood serum samples
to public health professionals at the University of California, San Francisco (UCSF) for PFAS
level testing and analysis. The results, which were issued in May 2022, are startling.
        174.    The testing shows that the Firefighter Plaintiffs have significant levels of PFAS in
their blood for multiple PFAS chemicals.
        175.    Importantly, the Firefighter Plaintiffs’ blood samples showed significant levels of
PFOA and PFOS – two PFAS chemicals contained in turnouts and Class B foams that are known
carcinogens and have been found to cause cancer and other serious health illnesses in humans.
        176.    Firefighter Plaintiffs only learned for the first time that they were likely to have,
and in fact had, significantly elevated levels of PFAS in their blood in May 2022, at the earliest,
after testing results revealed these facts.

https://www.firerescue1.com/fire-products/personal-protective-equipment-ppe/articles/take-a-
pledge-to-stop-cancer-at-the-door-e8bn7uAbtIXWdQau/.

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         177.   Based on all of the foregoing, Firefighter Plaintiffs bring this action for damages
and for other appropriate relief sufficient to compensate them for the significant harm Defendants’
PFAS chemicals and PFAS-containing products have caused.

          H.    It Was Technologically and Economically Feasible for Defendants to Design
                Safer Firefighting Foams and Turnouts
         178.   Defendants have long known that safer, reasonable, alternative designs existed and
could be utilized.    These designs are and were not only technologically feasible, but also
economically. Indeed, given the enormous cost of remediation of the environment and litigation,
not to mention the cost of human lives, the safe, feasible alternatives would have cost significantly
less.
         179.   In the early 2000s, 3M, in conjunction with Solberg Scandinavian AS developed
Re-Healing Foam (“RF”), a high-performance, AFFF-comparable product that contained no
fluorochemicals, and resulted in two patents and three commercial products of PFAS-free
firefighting foam. RF met the standard of “ICAO [International Civil Aviation Organization]
Level B and matched AFFF in performance including a US MIL-Spec product.”112 In 2007,
Solberg bought 3M’s patent rights to RF and continued to market and sell RF. In 2011, Defendant
Amerex acquired Solberg and continued to manufacture, market and sell RF. In 2014, the EPA
presented Solberg with the Presidential Green Chemistry Challenge Award for its fluorine-free
foams; the award recognizes technologies that prevent pollution and match or improve the
performance of existing products.113 In 2018, Defendant Perimeter Solutions in 2018 acquired
Solberg and continued to manufacture, market and sell RF.

112
    Fluorine Free Firefighting Foams (3F) – Viable Alternatives to Fluorinated Aqueous Film-
Forming        Foams        (AFFF),        IPEN      Expert     Panel   (September    2018),
https://ipen.org/sites/default/files/documents/IPEN_F3_Position_Paper_POPRC-
14_12September2018d.pdf; Schaefer, Ted. H. et al., New Foam Technology, New Found Benefits,
Solberg,     IAFPA       Sydney       2005    Conference    Proceedings (Oct.   5-7,  2005),
https://www.solbergfoam.com/getattachment/c5bef149-b850-48df-81a8-19b977c6daed/New-
Foam-Technology,-New-Found-Results.aspx;
113
   Marc S. Reisch, What Is the Price of Fire Safety? As Lawsuits Pile Up and Government
Pressure Rises, Firefighting-Foam Makers Reconsider the Environmental Cost of

                                                 58
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          180.     Also, beginning in the early 2000s, BIOEX launched a highly effective, fluorine-
free Class B F3 foam which has been approved and used by international airports, fire departments,
oil and gas companies, the marine industry and pharmaceutical and chemical companies around
the world.114
          181.     However, lobbyists and companies invested in maintaining profits on fluorinated
Class B foam not only continued to represent that PFAS-containing foam was safe, but also
intentionally maligned the fluorine free foams, falsely asserting that these foams were less
effective and more expensive.115 As noted by IPEN:

          Over the years since the serious introduction on the market of Class B fluorine-free F3
          foams suitable for hydrocarbon and polar solvent fires: there have been many attempts by
          the fluorochemical side of the industry and their lobbyist trade associations to undermine
          and downplay the operational performance of Class B fluorine-free foams whilst
          minimizing the environmental issues associated with fluorinated products. This has
          included publishing in the technical trade literature spurious performance tests carried out
          by non-independent or certified bodies funded by competitors to F3 producing companies,
          as well as continually perpetrating unsupported myths. It is these myths in particular that
          must be controverted for what they are: marketing hype, misrepresentation of test




Fluorosurfactants,      Chemical      &     Engineering       News      (January       14,     2019),
https://cen.acs.org/business/specialty-chemicals/price-fire-safety/97/i2.
114
    Fluorine Free Firefighting Foam (FFF) – Firefighting Foam Concentrates, BIOEX website
(last visited December 13, 2021), https://www.bio-ex.com/en/our-products/compositions/fluorine-
free-foam/; “Major international hubs such as Dubai, Dortmund, Stuttgart, London Heathrow,
Manchester, Copenhagen, and Auckland. All of the 27 major airports in Australia have transitioned
to F3 foams, with airports in Europe such as Billund, Guernsey, Bristol, Blackpool, Koln Bonn
also using F3 [fluorine-free] foams. Private sector companies using F3 foams include: BP,
ExxonMobil, Total, Gazprom, Statoil, BHP Billiton, Bayern Oil, 3M, BASF, Chemours,
AkzoNobel, Stena Line, Pfizer, Lilly, Weifa, JO Tankers, and ODFJEL. In the oil and gas sector
F3 foams are being extensively, with Statoil in Norway having transitioned to F3 foams throughout
all of it operations. Some military users including the Danish and Norwegian Armed forces have
moved to F3 foams, with the Royal Danish Airforce transitioning to F3 foams several year ago.”
Fluorine Free Firefighting Foams (3F) – Viable Alternatives to Fluorinated Aqueous Film-
Forming Foams (AFFF), IPEN Expert Panel, pg. 48 (September 2018),
https://ipen.org/sites/default/files/documents/IPEN_F3_Position_Paper_POPRC-
14_12September2018d.pdf
115
      Id. at 20.

                                                  59
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          conditions, frank untruths or only partial truths, criticism of a competitor’s product, and an
          exhibition of vested interests.116

          182.     In 2011, the Fire Fighting Foam Coalition, which includes Defendants Tyco,
DuPont, Dynax, Kidde, and Buckeye, misrepresented a U.S. Navy report comparing Solberg’s
fluorine-free RF with Defendant National Foam’s 6-Em AFFF and Defendant Buckeye’s FC-3MS
AFFF, asserting Solberg’s RF was less effective. In fact, though Solberg’s RF was not made per
military specifications as it did not include fluorine, the U.S. Navy Report found:


          For iso-octane, the non-fluorinated foam had shorter extinguishment times than the two
          AFFFs and was the only foam to achieve an extinguishment time under 30 seconds….The
          non-fluorinated foam had substantially better performance on iso-octane than on any of the
          other fuels.

          Conclusions: For the AFFF foams which were intended to work via formation of an
          aqueous film, fire extinction times were lengthened considerably in cases where film
          formation was made difficult by the low surface tension of the fuel. For the non-filming
          fluorine-free foam, however, no such performance decrement was observed, and the fire
          extinction times on the lowest surface tension fuel were lower than for fuels with higher
          surface tensions, and within the 30 second time limit specified (on gasoline) by MIL-F-
          24385F.117 (emphasis added)

          183.     Further, the study found that AFFF foams had 25% drain times (between 4-6
minutes) whereas the fluorine-free RF’s drain time was 12 minutes. This slower drain time leads
to greater burn back resistance and greater safety for firefighters.
          184.     The technology to develop safer, effective and economical fluorine-free Class B
foam is and has been available for, at least, over 20 years. In fact, many firefighting foam
manufacturers and distributors companies manufacture, market and/or sell fluorine-free
firefighting foams, including Defendants Tyco, Perimeter Solutions, Chemguard, Johnson
Controls, and National Foam.



116
      Id. at 22.
117
   Solberg Foam, Re-Healing Foam Fire Performance, Technical Bulletin, #1009 (last visited
December 13, 2021), https://www.solbergfoam.com/getattachment/f8574423-9518-4888-a054-
c170c0d9a234/RE-HEALING-Foam-Fire-Performance.aspx.

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        185.   EUROFEU, an umbrella organization representing fire protection trade
associations and companies including Defendant Tyco, even stated in 2019: “We believe that F3s
[fluorine-free foams] are very suitable for a growing number of applications such as municipal
firefighting, training, some testing and as foam agents in first responding fire trucks.”118
        186.   LAST FIRE, a consortium of international oil companies developing best industry
practice in storage tank Fire Hazard Management including Shell Oil, Chevron, BP, Exxon and
Defendant Perimeter Solutions, concluded after conducting 200 tests that: “Fluorine free foams
can provide equivalent performance to C6 foams [AFFF] and provide appropriate performance for
hydrocarbon [fires].”119
        187.   Safe fluorine-free turnout gear was and is also technologically and economically
feasible.
        188.   Fire-Dex manufactures, markets and sells an entire line of PFAS-free turnouts, as
well as non-fluorinated fabrics from Safety Components with a PFAS-free water-repellent.120
“Made with the same fabric as our traditional TECGEN71 outer shell, this material is designed to
reduce heat stress while offering the same performance levels in TPP, breathability, and overall
reduction of composite weight.”121 Further, because of the increased breathability and thermal
protection, the PFAS-free gear is the only outer shell that can currently be paired with the lightest
and thinnest thermal liners and moisture barriers.122 This, according to Fire-Dex, significantly


118
    The Use of PFAS and Fluorine-Free Alternatives in Fire-Fighting Foams, European
Commission DG Environment and European Chemicals Agency (ECHA), Final Report, June
2020,       p.       273,       https://echa.europa.eu/documents/10162/28801697/pfas_flourine-
free_alternatives_fire_fighting_en.pdf/d5b24e2a-d027-0168-cdd8-f723c675fa98
119
    Id. at pp. 314-315. Hydrocarbon fires are flammable gas or liquid fires that may involve gas,
oil, kerosene, ethanol, propane, acetylene, hydrogen, and methane, to name a few.
120
    Fire-Dex Launches Non-Fluorinated PPE Fabrics, Firehouse.com (February 17, 2021),
https://www.firehouse.com/safety-health/ppe/turnout-gear/press-release/21210722/firedex-
firedex-launches-nonfluorinated-ppe-fabrics.
121
       Alternative PPE, Fire-Dex website, (last visited                    December     14,     2021),
https://www.firedex.com/catalog/tecgen51-fatigues/#materials.
122
      TecGen71      Outer     Shell,    Fire-Dex        website,   (last   visited   December      14,

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reduces heat stress and cardiac failure for firefighters while also reducing the risk of cancer and
other diseases by eliminating PFAS exposure though turnout gear.
          189.     Defendants MSA/Globe, Honeywell, Tencate, and Gore have developed,
manufactured, marketed and/or sold PFAS-free waterproofing technology, PFAS-free outer shells
in turnout gear and/or durable PFAS-free fabrics.123
          190.     Defendant Honeywell even admitted that these PFAS-free alternatives are safe,
feasible and economical: “Any minor tradeoffs with PFAS-free fabrics are outweighed by worker
safety. And the protection level is unchanged. PFAS-free gear offers the same thermal protection
and moves the same way. The color fastness and wear remain the same.”124
          191.     While the technology to develop fluorine-free turnout gear has been available for
years, the NFPA turnout standards-setting technical committee continues to adhere to certain
guidelines for turnout gear which require PFAS – knowingly putting firefighters at risk for
exposure to PFAS. This committee is comprised of industry consultants, textile and gear
manufacturers, including Defendants MSA/Globe, Lion, Tyco, and Honeywell.125
          192.     The economic and technological feasibility of fluorine-free foams and turnout gear
is well-established, and based on technology that has been available for years. The alternative
designs detailed above are far safer for firefighters and eliminate the serious health risks that result
from PFAS exposure.

2021),https://www.firedex.com/tecgen71/.
123
   FreeFAS Durable Water Repellent (DWR) Coating, MSA/Globe website (last visited December
14, 2021), https://globe.msasafety.com/newoutershells; Id. at fn. 106, Wendt, Innovations in
Turnout        Gear,       Industrial    Fire      World         (March      17,        2021),
https://www.industrialfireworld.com/598931/innovations-in-turnout-gear; WL Gore to Release
PFAS-free Waterproof Material for Apparel, Chemical Watch (October 4, 2021),
https://chemicalwatch.com/346695/wl-gore-to-release-pfas-free-waterproof-material-for-apparel.
124
      Id. at fn. 108.
125
     NFPA 1971/1851 Technical Committee Meeting Minutes (March 31, 2020),
https://www.nfpa.org/assets/files/AboutTheCodes/1971/1971_F2022_FAE_SPF_Pre-
FD_MeetingMinutes_3_20.pdf; NFPA 1971/1851 Technical Committee Meeting Minutes
(January 11-12, 2012),         https://www.nfpa.org/assets/files/aboutthecodes/1851/fae-spf_pre-
rocmeetingminutes_01-12%20(2).pdf.

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        193.    The only barrier to producing safer alternatives to PFAS-containing foams and
turnout gear has been Defendants’ opposition. Their continued manufacturing, marketing, selling
and/or distributing PFAS-containing foams and turnout gear has exposed firefighters to toxic
PFAS chemicals. These defective designs are and/or have been a substantial factor in causing
Firefighter Plaintiffs’ injuries.
        194.    Based on all of the foregoing, Firefighter Plaintiffs bring this action for damages
and for other appropriate relief sufficient to compensate them for the significant harm Defendants’
PFAS chemicals and PFAS-containing products have caused.
         EQUITABLE TOLLING OF APPLICABLE STATUE OF LIMITATIONS
        195.    Plaintiffs incorporate by reference all prior paragraphs of this complaint as though
fully set forth herein.
        A.       To the Extent Applicable, the Statute of Limitations Should Be Equitably
                 Tolled Due to Defendants’ Fraudulent Concealment and Misrepresentations
        196.    Defendants had control over, and superior, if not exclusive, knowledge of the
hazardous toxicity, persistence and bioaccumulation of PFAS and PFAS-containing materials for
decades.
        197.    Since at least the 1960s, and as late as the early 1990s, Defendants have known, or
should have known, of the hazardous toxicity, persistence and bioaccumulation of PFAS and
PFAS-containing materials, including Class B foam and/or turnouts, when internal study after
internal study showed not only unacceptable levels of toxicity and bioaccumulation in human
blood, but links to increased incidence of liver damage, tumors, cancer and birth defects. Such
information was material to Firefighter Plaintiffs at all relevant times
        198.    Nonetheless, as detailed above, Defendants intentionally concealed these materials
facts and findings from their own internal research from firefighters, including Firefighter
Plaintiffs, fire departments, fire service media, fire organizations, the EPA and the public.
        199.    Defendants have also continuously misrepresented the safety of PFAS and PFAS-
containing materials for the past sixty years to firefighters, including Firefighter Plaintiffs, fire
departments, fire service media, fire organizations, the EPA and the public. Indeed, to this day,

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Defendants continue to assert in their public statements, on their websites, and on the product
warning labels and material safety data sheets statements that accompany their PFAS-containing
products, including Class B foam and turnouts, are safe and non-toxic.
        200.    When concerns have been raised in the scientific and fire service communities
about the safety of PFAS and PFAS-containing turnouts and/or Class B foam, Defendants have
uniformly dismissed these concerns as scientifically unfounded and maintained that PFAS and
protective equipment containing PFAS are safe and non-toxic.
        201.    In the face of challenges from the fire service communities as to the safety of PFAS-
containing protective equipment, Defendants have repeatedly asserted that because the protective
equipment meets the NFPA technical standards, there is no basis to challenge the safety of the
turnouts and/ or Class B foam. The Defendants, however, did not also disclose that they have
actively participated in establishing the NFPA technical standards and withheld material
information from the NFPA when those standards were set.
        202.    Defendants knowingly, actively, and affirmatively concealed the facts alleged
herein and misrepresented the safety of PFAS or PFAS-containing turnouts and/or Class B foam
to Firefighter Plaintiffs.
        203.    Firefighter Plaintiffs reasonably relied upon, and were deceived by Defendants’
representations that their PFAS or PFAS-containing turnouts and/or Class B foam were safe and
non-toxic. Firefighter Plaintiffs were unaware that the Class B foam and/or turnouts contained
toxic PFAS chemicals.
        204.    As a result of Defendants’ fraudulent concealment and misrepresentations and
despite Firefighter Plaintiffs’ due diligence, Firefighter Plaintiffs did not and could not have
discovered the operative facts - that PFAS were in their turnouts and/or Class B foam and exposed
them to toxic levels of PFAS – to form the basis for a cause of action against Defendants within
the statute of limitations period.




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       205.    At all times, Defendants are and were under a continuous duty to disclose to
Firefighter Plaintiffs the hazardous toxicity, persistence, and bioaccumulation associated with the
use of PFAS or PFAS-containing materials in turnouts and Class B foam.
       206.    For these reasons, any and all applicable statutes of limitations have been tolled as
a consequence Defendants’ ongoing knowledge, active fraudulent concealment, and
misrepresentation of material facts alleged herein.

       B.      Defendants Should Be Estopped From Using Statute of Limitations as an
               Affirmative Defense Due to Their Fraudulent Concealment and
               Misrepresentations
       207.    To the extent that certain Firefighter Plaintiffs did know sufficient facts to file a
cause of action against Defendants during any applicable statute of limitations period, Defendants
should be estopped from invoking the statute of limitations as an affirmative defense as they have
continually, intentionally and knowingly fraudulently concealed and misrepresented material facts
about the hazardous toxicity, persistence and bioaccumulation of PFAS and PFAS-containing
materials, including Class B foam and/or turnouts, which caused certain Firefighter Plaintiffs to
delay in filing a claim against Defendants.
       208.    Defendants had control over, and superior, if not exclusive, knowledge of the
hazardous toxicity, persistence and bioaccumulation of PFAS and PFAS-containing materials for
decades, and they fraudulently and intentionally concealed these facts from Firefighter Plaintiffs
for 60 years. To this day, they actively and falsely maintain that PFAS and PFAS-containing
products are not toxic, persistent and/or bioaccumulative.
       209.    Defendants have repeatedly and falsely represented to firefighters, including certain
Firefighter Plaintiffs, that any increase in the cancer rate among firefighters is from exposure to
other chemicals during fires - not from exposure to PFAS or PFAS-containing materials found in
turnouts and/or Class B foam that firefighters use daily.
       210.    While Defendants also repeatedly advised firefighters, including certain Firefighter
Plaintiffs, fire departments, the fire service media and fire organizations that the best solution for


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reducing cancer incidence was to decontaminate firefighters’ turnout gear with industrial-grade
washing machines after responding to a fire and/or using Class B foam, Defendants knowingly
and intentionally concealed from certain Firefighter Plaintiffs and fire departments that repeated
washing of turnout gear would cause the turnouts to degrade more quickly, causing increased
exposure to toxic-PFAS through inhalation, ingestion and/or dermal exposure.
       211.    When concerns have been raised in the scientific and fire service communities
about the safety of PFAS and PFAS-containing turnouts and/or Class B foam, Defendants have
uniformly dismissed these concerns as scientifically unfounded and maintained that PFAS and
protective equipment containing PFAS are safe and non-toxic.
       212.    In the face of challenges from the fire service communities as to the safety of PFAS-
containing protective equipment, Defendants have repeatedly asserted that because the protective
equipment meets the NFPA technical standards, there is no basis to challenge the safety of the
turnouts and/ or Class B foam. The Defendants, however, did not also disclose that they have
actively participated in establishing the NFPA technical standards and withheld material
information from the NFPA when those standards were set.
       213.    As Defendants had control over and superior knowledge of the serious risks of
PFAS, certain Firefighter Plaintiffs reasonably relied upon Defendants’ knowing and affirmative
misrepresentations, and/or active concealment, of material facts regarding the hazardous toxicity,
persistence and bioaccumulation of PFAS and PFAS-containing materials, including Class B foam
and/or turnouts, which caused certain Firefighter Plaintiffs to delay in filing a claim against
Defendants.
       214.    Based on the foregoing, Defendants are estopped from relying on any and all
applicable statutes of limitations in defense of this action.

        C.     To the Extent Applicable, the Statute of Limitations Should Be Tolled
       215.    For over fifty years and to this day, Defendants have fraudulently concealed and
actively misrepresented the hazardous toxicity, persistence, and bioaccumulation associated with
the use of PFAS or PFAS-containing materials in Class B foam and/or turnouts to firefighters,

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including certain Firefighter Plaintiffs, fire departments, the fire service media and fire
organizations in an effort to mask the very serious health and environmental consequences of
exposure to PFAS.
        216.    Because of Defendants’ active and ongoing concealment of the true nature of the
hazardous toxicity, persistence, and bioaccumulation associated with the use of PFAS or PFAS-
containing materials in Class B foam and/or turnouts, and their prior knowledge of it, Plaintiffs
could not have reasonably discovered the causes of action alleged herein.
        217.    Further, it was nearly impossible for Firefighter Plaintiffs to determine whether
they had PFAS in their blood and a basis for a claim against Defendants. Obtaining a PFAS
analysis of a blood sample is not readily available to the public, nor is it a test that a medical doctor
or regular hospital lab can order much less analyze.
        218.    In addition to the obstacles of getting PFAS blood serum levels tested, certain
Firefighter Plaintiffs had no realistic ability to discern or suspect that the hazardous toxicity,
persistence, and bioaccumulation associated with the use of PFAS or PFAS-containing materials
in Class B foam and/or turnouts were a substantial cause of their injuries until—at the earliest—
the Firefighter Plaintiffs received their test results revealing that they had significantly elevated
levels of PFAS in May 2022.
        219.    The causes of action alleged herein thus did not accrue until certain Firefighter
Plaintiffs discovered the hazardous toxicity, persistence, and bioaccumulation associated with the
use of PFAS or PFAS-containing materials in Class B foam and/or turnouts, and that they had
elevated levels of PFAS in their bodies and blood.
        220.    Accordingly, Defendants are precluded by the Discovery Rule from relying upon
any and all applicable statutes of limitations.


   COUNT ONE - BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY -
                            DESIGN DEFECT
                    (Mass. Gen. Laws Ch. 106, § 2-314)
        221.    This cause of action is asserted against all Defendants on behalf of all of the


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Firefighter Plaintiffs.
        222.    The Firefighter Plaintiffs incorporate by reference all prior paragraphs of this
complaint, as though fully set forth herein.
        223.    Each Defendant, their predecessors-in-interest, and/or their alter egos, and/or
entities they have acquired, have engaged in the business of designing, manufacturing, distributing,
supplying, and/or selling turnouts and/or Class B foam and, by doing so, impliedly warranted that
the turnouts and/or Class B foams were merchantable, safe, and fit for ordinary purposes for which
they were used, including for use by firefighters such as the Firefighter Plaintiffs.
        224.    Defendants knowingly placed PFAS and/or PFAS-containing turnouts and/or Class
B foam into the stream of commerce with full knowledge that they were sold to fire departments
or to companies that sold turnouts and/or Class B foam to fire departments for use by firefighters
such as the Firefighter Plaintiffs, who are or were exposed to PFAS through ordinary and
foreseeable uses for the purpose of firefighting activities, including training, extinguishment,
ventilation, search-and-rescue, salvage, containment, and overhaul.
        225.    Defendants intended that the PFAS and/or PFAS-containing turnouts and/or Class
B foam they were manufacturing, distributing, supplying, and/or selling would be used by
firefighters, including the Firefighter Plaintiffs, without any substantial change in the condition of
the products from when the products were initially designed, manufactured, distributed, supplied,
and/or sold by Defendants.
        226.    The Firefighter Plaintiffs used and/or were exposed to these PFAS-containing
products in the ways that Defendants intended them to be used and for the ordinary purposes for
which these products were intended.
        227.    The Firefighter Plaintiffs used and/or were exposed to these PFAS-containing
products in ways that were foreseeable to Defendants.
        228.    The Firefighter Plaintiffs were exposed to PFAS by using Defendants’ PFAS-
containing turnouts and/or Class B foam in the course of their firefighting activities, as described
above, without knowledge of the turnouts’ and/or Class B foam’s dangerous and hazardous

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properties.
       229.      The turnouts and/or Class B foam designed, manufactured, distributed, supplied,
and/or sold by Defendants and used by the Firefighter Plaintiffs, contained PFAS or PFAS-
containing materials that were so toxic and unreasonably dangerous to human health and the
environment, with the toxic chemicals being so mobile and persistent, that the turnouts and/or
Class B foam are defective in design and/or are unreasonably dangerous, unsuitable, and not safe
for use by firefighters even when used as directed by the manufacturer and for the intended
purposes of firefighting activities which include training, extinguishment, ventilation, search-and-
rescue, salvage, containment, and overhaul.
       230.      Further, knowing of the dangerous and hazardous properties of turnouts and Class
B foam, Defendants could have designed, manufactured, distributed, supplied, and/or sold
reasonable alternative designs or formulations of turnouts and/or Class B foam that did not contain
PFAS. Such alternative designs would have been safer for consumer-firefighters, and would have
reduced or prevented the Firefighter Plaintiffs’ harm. These alternative designs and/or
formulations were already available, practical, similar in cost, and technologically feasible.
       231.      The use of these alternative designs would have reduced or prevented the
reasonably foreseeable harm to the Firefighter Plaintiffs that was caused by the Defendants’
design, manufacture, distribution, supply, and/or sale of PFAS and PFAS-containing materials,
including turnouts and/or Class B foam.
       232.      Additionally, the turnouts and/or Class B foam that were designed, manufactured,
distributed, supplied, and/or sold by the Defendants contained PFAS or PFAS-containing materials
that were so toxic and unreasonably dangerous to human health and the environment, with the
toxic chemicals being so mobile and persistent, that the act of designing, manufacturing,
distributing, supplying, and selling these products was unreasonably dangerous under the
circumstances.
       233.      The PFAS-containing turnouts and/or Class B foam designed, manufactured,
distributed, supplied, and/or sold by the Defendants were dangerous and defective in design or

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formulation because, at the time in which the products left the hands of the manufacturer or
distributors, the foreseeable risks exceeded the benefits associated with the design or formulation
of PFAS-containing turnouts and/or Class B foam.
          234.   The PFAS-containing turnouts and/or Class B foam designed, manufactured,
distributed, supplied, and/or sold by the Defendants were dangerous and defective in design or
formulation because, when the PFAS-containing products left the hands of the manufacturer or
distributors, said products were unreasonably dangerous, unreasonably dangerous in normal use,
did not meet ordinary consumer-firefighter’s reasonable expectations as to their safety, and were
more dangerous than an ordinary consumer-firefighter would expect.
          235.   The PFAS-containing turnouts and/or Class B foam were in a defective condition
and unsafe, and Defendants knew or had reason to know that these PFAS-containing products were
defective and unsafe, especially when used in the form and manner as provided by Defendants. In
particular, Defendants PFAS-containing products were defective in the following ways:
          236.   When placed in the stream of commerce, Defendants’ PFAS-containing turnouts
and/or Class B foam were defective in design and formulation and as a result failed to meet
ordinary users’ expectations as to their safety and failed to perform as an ordinary user would
expect.
          237.   When placed in the stream of commerce, Defendants’ PFAS-containing turnouts
and/or Class B foam were defective in design and formulation, and as a result, dangerous to an
extent beyond which an ordinary consumer-firefighter would anticipate.
          238.   When placed in the stream of commerce, Defendants’ PFAS-containing turnouts
and/or Class B foam were unreasonable dangers in that they were hazardous and posed a grave
risk of cancer and other serious illnesses when used in a reasonably anticipated manner.
          239.   When placed in the stream of commerce, Defendants’ PFAS-containing turnouts
and/or Class B foam contained unreasonably dangerous design defects and were not reasonably
safe when used in a reasonably anticipated manner.
          240.   Exposure to PFAS presents a risk of grave and harmful side effects and injuries that

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outweigh any potential utility stemming from their use.
        241.    Defendants knew or should have known at the time of designing, manufacturing,
distributing, supplying and/or selling their PFAS-containing turnouts and/or Class B foam, that
exposure to PFAS by firefighters, including the Firefighter Plaintiffs, could result in cancer and
other grave and serious illnesses and injuries as alleged herein.
        242.    The unreasonably dangerous design defect in turnouts and/or Class B foam
containing PFAS exposed the Firefighter Plaintiffs to toxic levels of PFAS and therefore, was a
proximate cause of the Firefighter Plaintiffs’ injuries and damages as described herein.
        243.    As a result of Defendants' design and formulation of a defective product,
Defendants are liable in damages to the Firefighter Plaintiffs.
        244.    As a direct and proximate result of the foregoing acts and omissions, the Firefighter
Plaintiffs suffered the injuries and damages described herein.
        245.    Defendants acted with willful or conscious disregard for the rights, health, and
safety of the Firefighter Plaintiffs, as described herein, thereby entitling the Firefighter Plaintiffs
to an award of punitive damages.

   COUNT TWO - BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY–
                          FAILURE TO WARN
                    (Mass. Gen. Laws Ch. 106, § 2-314)
        246.    This cause of action is asserted against all Defendants on behalf of all of the
Firefighter Plaintiffs.
        247.    The Firefighter Plaintiffs incorporate by reference all prior paragraphs of this
complaint, as though fully set forth herein.
        248.    Each Defendant, their predecessors-in-interest, and/or their alter egos, and/or
entities they have acquired, have engaged in the business of designing, manufacturing, distributing,
supplying, and/or selling of PFAS or PFAS-containing materials, including turnouts and/or Class
B foam, and, through that conduct, have knowingly placed PFAS-containing products into the
stream of commerce with full knowledge that they were sold to fire departments or to companies


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that sold turnouts and/or Class B foam to fire departments for the use by firefighters such as the
Firefighter Plaintiffs, who were exposed to PFAS through ordinary and foreseeable uses for the
purposes of firefighting activities which include training, extinguishment, ventilation, search-and-
rescue, salvage, containment, and overhaul.
        249.   The products complained of were designed, manufactured, distributed, supplied,
and/or sold by each of the Defendants and/or used by and/or in the vicinity of the Firefighter
Plaintiffs during their lifetime and/or they were exposed to PFAS while using turnouts and/or Class
B foam in the ordinary course of performing their duties as firefighters.
        250.   Defendants expected that the PFAS-containing products they were designing,
manufacturing, distributing, supplying, and/or selling would reach firefighters, including the
Firefighter Plaintiffs, without any substantial change in the condition of the products from the time
such PFAS-containing products were initially manufactured, sold, distributed, and marketed by
Defendants.
        251.   As set forth herein, Defendants knew or should have reasonably known that the
turnouts and/or Class B foam containing PFAS that they designed, manufactured, distributed,
supplied, or sold were hazardous to human health.
        252.   Defendants knew or reasonably should have known of the dangers of the turnouts
and/or Class B foams before, during and/or after their design, manufacture, distribution, supply
and sale of those products.
        253.   Defendants were required to warn users of the dangers that are present in the PFAS-
containing turnouts and/or Class B foam that Defendants designed, manufactured, supplied, and/
or sold.
        254.   The potential risks of using PFAS-containing turnouts and/or Class B foam
presented a substantial danger to firefighters, including the Firefighter Plaintiffs, when the turnouts
and/or Class B foam were used and/or worn in an intended or reasonably foreseeable way.
        255.   The Firefighter Plaintiffs used and/or were exposed to Class B foam and/or wore
turnouts in the intended or reasonably foreseeable way in the ordinary course of performing their

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duties as firefighters, including fire suppression and fire suppression training.
       256.    Defendants’ PFAS and PFAS-containing products, including turnouts and/or Class
B foam, were in a defective condition and unreasonably dangerous by design and, are deleterious,
toxic, and highly harmful to the Firefighter Plaintiffs, as described herein.
       257.    Defendants knew or should have reasonably known that exposure to PFAS was
hazardous to human health, but:
       a.      Did not provide an adequate warning of the potential harm that might result from
exposure to PFAS or PFAS-containing materials in turnouts and/or Class B foam;
       b.      Did not have adequate instructions for safe use of the products;
       c.      Did not have warnings to persons, such as the Firefighter Plaintiffs, who had been,
or reasonably may have been, exposed to Defendants' turnouts and/or Class B foam, of their
disease potential, the proper steps to take to reduce the harmful effects of previous exposure, the
need to have periodic medical examinations including the giving of histories which revealed the
details of the previous exposure, and the need to have immediate and vigorous medical treatment
for all related adverse health effects; and
       d.      Did not manufacture, market, promote, distribute and/or sell reasonably
comparable products not containing PFAS when it became feasible to design.
       258.    Defendants knew that the use of turnouts and/or Class B foam, even when used as
instructed by Defendants, subjected the Firefighter Plaintiffs and others to a substantial risk of
harm from PFAS or PFAS-containing materials, and yet, failed to adequately warn the Firefighter
Plaintiffs, the EPA, or the public.
       259.    At the time of manufacture, distribution, promotion, labeling, distribution, and/or
sale, and thereafter, Defendants could have provided warnings or instructions regarding the full
and complete risks of turnouts and/or Class B foam containing PFAS or PFAS-containing
materials, because Defendants knew or should have known of the unreasonable risks of harm
associated with the use of and/or exposure to such products.
       260.    A reasonable person in Defendants’ position and with Defendants’ knowledge

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would have provided a warning as to the hazardous and toxic risks of PFAS to users of their PFAS-
containing turnouts and/or Class B foams.
       261.    Defendants also knew and/or could have identified the users of the turnouts and/or
Class B foams to whom warnings should have been provided as they were firefighters, fire
departments, fire districts and/or counties and municipalities who purchased the turnouts and/or
Class B foam on behalf of, and for use by, firefighters in their duties.
       262.    Defendants could have effectively communicated to users of the turnouts and/or
Class B foams including but not limited to by package, container and gear labels, training of users,
and dissemination of information materials.
       263.    At all relevant times, Defendants’ turnouts and/or Class B foam did not contain an
adequate warning or caution statement, which was necessary.
       264.    The Firefighter Plaintiffs were unaware of the defective and unreasonably
dangerous condition of Defendants' products at a time when such products were being used for the
purposes for which they were intended, and the Firefighter Plaintiffs were exposed to PFAS
released from the Defendants' turnouts and/or Class B foam.
       265.    The Firefighter Plaintiffs did not and could not have known that the use of turnouts
and/or Class B foam in the ordinary course of performing their duties as firefighters could be
hazardous to their health, bio-accumulate in the blood, and cause serious health effects, including
cancer - dangers which were not obvious to the Firefighter Plaintiffs.
       266.    As a result of their inadequate warnings, Defendants’ turnouts and/or Class B foam
were defective and unreasonably dangerous when they left the possession and/or control of
Defendants, were distributed by Defendants, and used or worn by the Firefighter Plaintiffs.
       267.    The lack of adequate and sufficient warnings was a substantial factor in causing the
Firefighter Plaintiffs’ harm and injuries, as described herein.
       268.    As a result of Defendants’ failure to provide adequate and sufficient warnings,
Defendants are strictly liable in damages to the Firefighter Plaintiffs.
       269.    As a direct and proximate result of the foregoing acts and omissions, the Firefighter

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Plaintiffs suffered the injuries and damages described herein.
        270.    Defendants acted with willful or conscious disregard for the rights, health, and
safety of the Firefighter Plaintiffs, as described herein, thereby entitling the Firefighter Plaintiffs
to an award of punitive damages.
                               COUNT THREE - NEGLIGENCE
        271.    This cause of action is asserted against all Defendants on behalf of all of the
Firefighter Plaintiffs.
        272.    The Firefighter Plaintiffs incorporate by reference all prior paragraphs of this
complaint as though fully set forth herein.
        273.    Defendants owed a duty of care towards the Firefighter Plaintiffs that was
commensurate with the inherently dangerous, harmful, injurious, bio-persistent, environmentally-
persistent, toxic, and bio-accumulative nature of Class B foam and turnouts containing PFAS or
PFAS-containing materials.
        274.    Defendants had a duty to exercise reasonable care in the design, research, testing,
manufacture, marketing, formulation, supply, promotion, sale, labeling, training of users,
production of information materials, use and/or distribution of Class B foam and/or turnouts into
the stream of commerce, including a duty of care to ensure the PFAS did not infiltrate, persist in,
accumulate in the blood and/or bodies of the Firefighter Plaintiffs and including a duty to assure
their products would not cause users to suffer unreasonable, dangerous side effects.
        275.    Defendants had a duty to exercise reasonable care to ensure that Class B foam
and/or turnouts were manufactured, marketed, and sold in such a way as to ensure that the end
users of Class B foam and/or turnouts were aware of the potential harm PFAS can cause to human
health, and were advised to use it in such a way that would not be hazardous to their health.
        276.    Defendants had a duty to warn of the hazards associated with PFAS and PFAS-
containing materials and were in the best position to provide adequate instructions, proper labeling,
and sufficient warnings about the Class B foam and/or turnouts. However, Defendants knowingly
and intentionally failed to do so.

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        277.    Defendants failed to exercise a reasonable degree of ordinary care in the designing,
researching, testing, manufacturing, formulating, marketing, testing, promotion, supply, sale,
and/or distribution of their PFAS chemicals and PFAS-containing products in the regular course
of business, in that Defendants knew or should have known that use and exposure to PFAS and
PFAS-containing materials was hazardous to human health and created a high risk of
unreasonable, dangerous side effects, including but not limited to severe personal injuries, as
described herein.
        278.    Defendants also knew or should have known that the manner in which they were
manufacturing, marketing, distributing, and selling Class B foam and/or turnouts containing PFAS
or PFAS-containing materials was hazardous to human health, bio-accumulated in the blood, and
caused serious health effects, including cancer, as set forth herein.
        279.    Defendants     negligently    and    deceptively     underreported,     underestimated,
downplayed the serious health dangers of the Class B foam and/or turnouts products.
        280.    Defendants negligently, carelessly and recklessly recommended application and
disposal techniques for PFAS and/or for products containing PFAS that directly and proximately
caused harm to the Firefighter Plaintiffs.
        281.    Defendants knew or should have known that firefighters working with and using
Class B foam and/or turnouts products would be exposed to PFAS.
        282.    At all times material, the Firefighter Plaintiffs inhaled, ingested and/or absorbed
dermally hazardous PFAS contaminants released from the Defendants’ Class B foam and/or
turnouts.
        283.    The Firefighter Plaintiffs’ exposure to Defendant’s Class B foam and/or turnouts,
which were connected to and incidental to Defendants’ manufacture, design, sale, supply and/or
distribution of its PFAS-containing products, was harmful and substantially increased the risk of
injuries to the Firefighter Plaintiffs, and did cause injuries to the Firefighter Plaintiffs.
        284.    Defendants knew or should have known that the manner in which they were
manufacturing, marketing, distributing and selling Class B foam and/or turnouts containing PFAS

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or PFAS-containing materials would result in harm to the Firefighter Plaintiffs as a result of using
Class B foam and/or turnouts in the ordinary course of performing the Firefighter Plaintiffs’ duties
as firefighters.
        285.       Defendants knew, foresaw, anticipated, and/or should have foreseen, anticipated,
and/or known that the design, engineering, manufacture, fabrication, sale, release, handling, use,
and/or distribution of PFAS or PFAS-containing materials in Class B foam and turnouts, and/or
Defendants’ other acts and/or omissions as described in this complaint, could likely result in PFAS
exposure to the Firefighter Plaintiffs, the persistence and accumulation of toxic and harmful PFAS
in their blood and/or bodies, and cause injuries to the Firefighter Plaintiffs as herein alleged.
        286.       The harm from PFAS-containing turnouts and/or Class B foam to the Firefighter
Plaintiffs could have been reduced or eliminated by the adoption of safer, reasonable alternative
designs that were not unreasonably dangerous, that were known and available to Defendants.
        287.       These reasonable alternative designs or formulations of turnouts and/or Class B
foam do not contain PFAS and therefore are safer for consumers, and would have reduced or
prevented the Firefighter Plaintiffs’ harm. These alternative designs and/or formulations were
already available, practical, similar in cost, and technologically feasible, and do not interference
with the performance of the products.
        288.       Despite knowing, anticipating, and/or foreseeing the bio-persistent, bio-
accumulative, toxic, and/or otherwise harmful and/or injurious nature of PFAS materials,
Defendants, their agents, servants, and/or employees, committed negligent acts and/or omissions
that resulted in PFAS exposure to the Firefighter Plaintiffs, the persistence and accumulation of
toxic and harmful PFAS in their blood and/or bodies, and caused injuries to the Firefighter
Plaintiffs as herein alleged.
        289.       Defendants, through their acts and/or omissions as described in this complaint,
breached their duties to the Firefighter Plaintiffs.
        290.       It was reasonably foreseeable to Defendants that the Firefighter Plaintiffs would
likely suffer the injuries and harm described in this complaint by virtue of Defendants’ breach of

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their duty and failure to exercise ordinary care, as described herein.
        291.    As a direct and proximate result of the foregoing acts and omissions, the Firefighter
Plaintiffs suffered the injuries described herein, which are permanent and lasting in nature, include
physical pain and mental anguish, the need for lifelong medical treatment, monitoring, and/or
medications. But for Defendants’ negligent acts and/or omissions, the Firefighter Plaintiffs would
not have been injured or harmed.
        292.    Defendants acted with willful or conscious disregard for the rights, health, and
safety of the Firefighter Plaintiffs, as described herein, thereby entitling the Firefighter Plaintiffs
to an award of punitive damages.

                     COUNT FOUR – UNFAIR AND DECEPTIVE PRACTICES
                            (Mass. Gen. Laws Ch. 93A, § 9)
        293.    This cause of action is asserted against all Defendants on behalf of all of the
Firefighter Plaintiffs.
        294.    The Firefighter Plaintiffs incorporate by reference all prior paragraphs of this
complaint as though fully set forth herein.
        295.    The Defendants have committed unfair and deceptive acts and practices in violation
of Massachusetts’ Consumer Protection Act, Mass. Gen. Laws ch. 93A, § 2(a), and regulations
promulgated thereunder. These violations include, but are not limited to, Defendants’ breaches of
their implied warranty of merchantability, in violation of Mass. Gen. Laws ch. 93A, § 2, by
manufacturing, selling and/or distributing PFAS, PFAS-containing products or materials,
including Class B foam and/or turnout gear, in a defective condition that is and was unreasonably
dangerous to users, including Firefighter Plaintiffs, because such PFAS or PFAS-containing
materials are toxic and unreasonably dangerous to human health and the environment, and there
were safer reasonable alternative designs available.
        296.     Defendants violated Massachusetts’ Consumer Protection Act, Mass. Gen. Laws
ch. 93A, § 2, by engaging in business practices that were oppressive or otherwise unconscionable.
        297.     Defendants’ continuous and ongoing public deception, as described above, is and


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was intended to deceive, confuse and/or mislead users, including Firefighter Plaintiffs, as to the
dangers of PFAS and/or PFAS-containing materials and products, including Class B foam and/or
turnouts. Such misleading statements and representations were made to increase Defendants’
profits and without regard for the health and safety of users, including Firefighter Plaintiffs.
       298.    As a proximate result of Defendants’ unfair and deceptive trade practices,
Firefighter Plaintiffs developed serious diseases, including cancer, and Firefighter Plaintiffs are
entitled, pursuant to Mass. Gen. Laws ch. 93A, § 9, to recover the damages sought in this
Complaint.
       299.    On June 14, 2022, Plaintiffs sent demand letters pursuant to Mass. Gen. Laws ch.
93A, § 9(3), via UPS Next Day Air to Defendants 3M, Carrier, DuPont, Johnson Controls, and
Tyco. Plaintiffs’ demand letters identified the claimants and reasonably described the unfair or
deceptive acts or practices complained of and the injuries suffered. Attached to Plaintiffs’ demand
letters was a copy of the substantially similar complaint filed in the action captioned as Marchetti,
et al. v. 3M Co., et al., No. 1:22-cv-10251 (D. Mass.). Demand letters were not sent to the other
Defendants in this action as the demand letter requirements of Mass. Gen. Laws ch. 93A, § 9(3),
do not apply to them; the other Defendants do not maintain a place of business or keep assets
within the Commonwealth of Massachusetts.
       300.    Counsel for Defendant 3M responded to Plaintiff’s demand letter in
correspondence dated June 23, 2022 and July 14, 2022. 3M’s July 14, 2022 letter denied liability
and made no offer of settlement.
       301.    Counsel for Defendant DuPont responded to Plaintiff’s demand letter in
correspondence dated July 12, 2022 that denied liability and made no offer of settlement.
       302.    Defendants Carrier, Johnson Controls, and Tyco did not respond to Plaintiffs’
demand letters within the thirty days provided by Mass. Gen. Laws ch. 93A, § 9(3).
       303.    The refusal of Defendants 3M, Carrier, DuPont, Johnson Controls, and Tyco to
make a reasonable offer of settlement within thirty days of receipt of the ch. 93A demand letter
was in bad faith insofar as Defendants 3M, Carrier, DuPont, Johnson Controls, and Tyco knew or

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had reason to know that the acts complained of violated Mass. Gen. Laws ch. 93A.
                          COUNT FIVE - LOSS OF CONSORTIUM
        304.   This cause of action is asserted against all Defendants on behalf of the Spouse
Plaintiffs.
        305.   The Spouse Plaintiffs incorporate by reference all prior paragraphs of this
complaint, as though fully set forth herein.
        306.   At all times relevant to this action, the following Plaintiffs were and are now
lawfully married:
        307.   Firefighter Plaintiff Arthur Davison and the Spouse Plaintiff Jacqueline Davison.
        308.   7Firefighter Plaintiff Richard MacMurdo and Spouse Plaintiff Lori MacMurdo.
        309.   Firefighter Plaintiff Mark Ryan and Spouse Plaintiff Leah Ryan.
        310.   Firefighter Plaintiff Thomas Timmons and Spouse Plaintiff Susan Timmons.
        311.   As alleged above, and as a result of the conduct of the Defendants, Firefighter
Plaintiffs sustained severe and permanent injuries and damages.
        312.   As a proximate result of their husband’s injuries sustained from their exposure to
and/or use of Class B foam and/or turnouts in the ordinary course of performing their firefighting
duties, the Spouse Plaintiffs were deprived of love, companionship, comfort, care, assistance,
protection, affection, society, moral support, sexual relations and conjugal fellowship, during their
husband’s illnesses, treatments and recoveries, which deprivation has caused, continues to cause,
and in the future is expected to cause the Spouse Plaintiffs emotional distress; loss of earning
capacity; past, present, and future, and other injuries - the full extent of which has not yet been
ascertained, but which will be stated according to proof at trial.
        313.   As a further direct and proximate result of the aforesaid conduct of Defendants, the
Spouse Plaintiffs have sustained a loss of consortium, love, society, comfort and affection, and
have thereby sustained pecuniary losses, which losses will be stated according to proof at trial.




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                                     PRAYER FOR RELIEF
        WHEREFORE, Plaintiffs respectfully prays that this Court grant the following relief:
       (1)      Compensatory damages, including but not limited to, pain, suffering, emotional
                distress, loss of enjoyment of life, and other non-economic damages in an amount
                according to proof at time of trial;
       (2)      Compensatory damages for future damages, including but not limited to Plaintiffs’
                pain and suffering and for severe permanent personal injuries sustained by the
                Firefighter Plaintiffs, including for future health care costs, medical monitoring,
                and/or economic loss.
       (3)      Economic damages including but not limited to medical expenses, out of pocket
                expenses, lost earnings and other economic damages in an amount to be determined
                at trial;
       (4)      Punitive and/or exemplary damages for the wanton, willful, fraudulent, and
                reckless acts of the Defendants, who demonstrated a conscious disregard and
                reckless indifference for the safety and welfare of the public in general and of the
                Plaintiffs in particular, in an amount sufficient to punish Defendants and deter
                future similar conduct, to the extent allowed by applicable law;
       (5)      Pre-judgment and post-judgment interest, at the legal rate, on all amounts claimed;
       (6)      Attorneys’ fees and costs pursuant as permitted by law;
       (7)      For equitable and injunctive relief, as necessary, to ensure that Defendants refrain
                from continuing to harm others; and
       (8)      Any such further relief as this Court deems just and proper.
                                  DEMAND FOR JURY TRIAL
        Plaintiffs hereby demand a jury trial for each cause of action for which they are entitled to
a jury trial.




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DATED: July 15, 2022
                                   Berman Tabacco

                                   By: /s/ Steven J. Buttacavoli

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